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 1                            UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
 2
          UNITED STATES OF AMERICA,      ) Criminal Action
 3                                       ) No. 1:22-cr-00015-APM
                            Plaintiff,   )
 4                                       ) Jury Trial - Day 13
         vs.                             ) (afternoon session)
 5                                       )
         ELMER STEWART RHODES III,       )
 6       et al.,                         ) Washington, D.C.
                                         ) October 18, 2022,
 7                          Defendants. ) Time: 1:35 p.m.
         ___________________________________________________________
 8
                       Transcript of Jury Trial - Day 13
 9                                 Held Before
                           The Honorable Amit P. Mehta
10                        United States District Judge
          ___________________________________________________________
11
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 1                        A P P E A R A N C E S, continued

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 1                              P R O C E E D I N G S

 2                   (REPORTER'S NOTE:       The morning session of the jury

 3       trial was reported by William P. Zaremba who prepared said

 4       transcript.)

 5                   THE COURTROOM DEPUTY:       Please be seated, everyone.

 6                   THE COURT:    Is the government ready to go?              Were

 7       you-all able to --

 8                   MS. HUGHES:    Yes, Your Honor.

 9                   THE COURT:    All right.      Thank you.

10                Has the defense seen what the end product is?

11                   MS. HUGHES:    It was done literally two minutes ago.

12       It includes all the cuts that you requested.

13                   THE COURT:    Okay.

14                   MS. HUGHES:    Did you want to review the edited copy?

15                   THE COURT:    (Shakes head.)

16                   MS. HUGHES:    Would you like us to bring in the

17       witness, Your Honor?

18                   THE COURT:    Sorry?

19                   MS. HUGHES:    Would you like us to bring in the

20       witness?

21                   THE COURT:    Yeah, if you would, please.          I think

22       there's a juror in the restroom; that's the reason for the

23       delay.

24                   (Proceedings held in the presence of the jury.)

25                   THE COURT:    All right.      Welcome back, everyone.            Have
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 1       a seat, everybody.

 2                Captain Ortega, why don't you come back up, and we'll

 3       continue with your direct examination.

 4                    THE WITNESS:   Thank you, Your Honor.

 5                            DIRECT EXAMINATION, continuing

 6       BY MS. HUGHES:

 7       Q.   Good afternoon, Captain Ortega.

 8       A.   Good afternoon.

 9       Q.   And for the record, you're still under oath.

10       A.   Yes, ma'am.

11       Q.   Before the break, I was about to show you a video, but just

12       before we -- we look at this video, have you -- in your time at

13       the Capitol, have there been other protests that you have been

14       responsible for observing or been responsible for providing

15       security for while they occur?

16       A.   I have.

17       Q.   And in terms of the unprecedented nature of January 6th,

18       had there been a breach of the Capitol before January 6th

19       during your time at the Capitol?

20       A.   In the 15 years I've been on this department, I've never

21       seen a breach into the Capitol like that.

22       Q.   Okay.    So I want to turn back to the video we were

23       discussing.     In the video, had you -- have you been to all of

24       the locations that are shown in that video?

25       A.   I have.
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 1                   MS. HUGHES:      And, Your Honor, before we move to admit

 2       the video, there are two stipulations that would be appropriate

 3       to read into the record, if that's okay.

 4                   THE COURT:      Of course.

 5                   MS. HUGHES:      This is government -- Government's

 6       Exhibit 3001.        The government and Defendants Elmer Stewart

 7       Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, and

 8       Thomas Caldwell hereby agree and stipulate to the following:

 9       The United States Capitol Police operate and maintain

10       closed-circuit video monitoring and recording equipment that

11       captures locations inside and outside of the United States

12       Capitol Building and on the Capitol Grounds.

13                The video equipment time stamps each recording with the

14       date and time at which the footage is captured.               The

15       USCP-controlled video equipment was in good working order on

16       January 6th, 2021, and video footage recovered from the cameras

17       and equipment with the time stamp of January 6th, 2021, is

18       footage from January 6th, 2021.

19                The time stamps on the recordings are accurate and the

20       depicted video footage was not altered or edited in any way.

21       The video footage is authentic in that it is what it purports

22       to be.    Government's Exhibit 1056 consists of video footage

23       pulled from the USPC [sic] closed-circuit video recordings.

24                And then this is Government's Exhibit 3003.                This

25       stipulation covers videos that are not included in the current
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 1       exhibit, but I'll read it for its entirety.

 2                 The government and Defendants Elmer Stewart Rhodes,

 3       Kelly Meggs, Kenneth Harrelson, Jessica Watkins, and

 4       Thomas Caldwell hereby agree and stipulate to the following:

 5       On January 6th, 2021, much of the proceedings taking place

 6       at the Senate and House Floor were contemporaneously recorded

 7       by the Senate recording studio.        The Senate recording studio's

 8       purpose is to serve the Senate.        The broadcast studio is

 9       comprised of the Senate TV hearing rooms and a studio

10       function.    Senate TV is comprised of eight cameras which record

11       activity occurring on the Senate Floor.              This footage is also

12       broadcast through the Cable-Satellite Public Affairs Network,

13       C-SPAN.

14                 The Senate studio can also capture contemporaneous

15       footage of the House of Representatives proceedings when there

16       are Joint Sessions of Congress that is used for broadcast.

17       Government's Exhibits 1057 and 1058 are true and authentic

18       copies of footage captured by the Senate recording studio

19       including the broadcast on C-SPAN.

20                 Government's Exhibit 1060 are authentic copies of audio

21       files from the United States Capitol radio transmissions on

22       January 6th, 2021.

23                 Government Exhibit 1061 are authentic copies of audio

24       files from Metropolitan Police Department radio transmissions

25       on January 6th, 2021.
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 1                Government's Exhibit 1061.1 are accurate transcripts of

 2       these and related audio files.

 3                Government's Exhibit 1063 are authentic copies of audio

 4       files from the United States Secret Service radio transmissions

 5       on January 6th, 2021.

 6                And Government's Exhibits 8000 and 8002 are authentic

 7       copies of video footage from the body-worn camera of

 8       Metropolitan Police Department Officer Christopher Owens and

 9       Sergeant Caleb Willis on January 6th, 2021.

10                And if we could bring up the exhibit for the witness.

11       And this is Government's Exhibit 1515.

12                    THE COURT:    Just a reminder, ladies and gentlemen.           A

13       stipulation, again, is an agreement as to certain facts.              You

14       should consider any stipulation of fact to be undisputed

15       evidence.

16                    MS. HUGHES:   And my apologies.         For the record, this

17       is 1515.1.     This is the edited version.

18       BY MS. HUGHES:

19       Q.   Captain Ortega, does this video -- first of all, have you

20       viewed this video before?

21       A.   I have.

22       Q.   And does this video include clips from various CCTV --

23       U.S. Capitol Police CCTV footage taken on January 6th?

24       A.   It does.

25       Q.   Does it also include a portion of a radio transmission from
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                                                                               4002

 1       January 6th, 2021?

 2       A.   It does.

 3                   MS. HUGHES:    Government moves to admit and publish

 4       Government's Exhibit 1515.1.

 5                   THE COURT:    All right.     1515.1 is admitted.

 6                   (Government Exhibit 1515.1 admitted into evidence.)

 7                   MS. HUGHES:    Okay.    If we could begin the video, Ms.

 8       Rohde.    If we could just pause here.

 9                   (A video recording was played.)

10       BY MS. HUGHES:

11       Q.   To the right of this footage, there appears to be a map.

12       Is it your understanding that this green triangle relates to

13       the position of a U.S. Capitol Police camera?

14       A.   It does.

15       Q.   And does the broader part of the triangle correspond with

16       the vantage point of a particular camera?

17       A.   It does.

18                   MS. HUGHES:    Thank you.     We can keep playing.

19                   (A video recording was played.)

20       BY MS. HUGHES:

21       Q.   Where is this Peace Circle, and what side of the building

22       is the Peace Circle?

23                   MS. HUGHES:    I'm sorry, Ms. Rohde.        If we could

24       actually go back.      My apologies.    I promise I won't do this to

25       you the entire time.
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                                                                                4003

 1        BY MS. HUGHES:

 2        Q.   Where is this Peace Circle?

 3        A.   So from where we're at, the Peace Circle is in between

 4        First Street.       We are facing towards the West Front area of the

 5        U.S. Capitol up Pennsylvania Avenue drive --

 6        Q.   And while we're here --

 7        A.   -- or walkway.

 8        Q.   -- if -- there is a date and time at the top left of the

 9        video.    Is -- where does this date and time come from?

10        A.   That comes directly from the CCTV footage.

11        Q.   So the prosecutors themselves did not input this into the

12        system?

13        A.   That is correct.

14                    MS. HUGHES:     My apologies, Ms. Rohde.        If we could

15        continue playing now.

16                    (A video recording was played.)

17        BY MS. HUGHES:

18        Q.   What street is this view facing?

19        A.   That's Pennsylvania Avenue.

20        Q.   And the time is 12:57 -- is that correct? -- on the upper

21        left?

22        A.   That is correct.

23        Q.   And is this the west side of the building at 12:58?

24        A.   Correct.    We're looking at the West Front of the

25        U.S. Capitol.
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 1                     MS. HUGHES:   And if we could just pause here,

 2        Ms. Rohde.

 3        BY MS. HUGHES:

 4        Q.   What -- there's a fence that is depicted in this clip.

 5        What is that barrier?

 6        A.   That would be the snow fence I was talking about earlier.

 7        Q.   So is there another barrier that is further out than this

 8        snow fence?

 9        A.   That is correct.

10        Q.   And can you, in fact, see this barrier at the top right?

11        A.   You can.

12        Q.   Or top left.    My apologies.

13        A.   You can, yes.

14                     MS. HUGHES:   Okay.   Ms. Rohde, we can continue

15        playing.

16                     (A video recording was played.)

17        BY MS. HUGHES:

18        Q.   Are rioters allowed on this plaza?

19        A.   They are not.

20        Q.   At 1:59, if we could pause here.        There are vehicles that

21        appear to be departing.      Do you -- do you know what these

22        vehicles are?

23        A.   I do.

24        Q.   Whose vehicles are these?

25        A.   That would be Vice President Mike Pence's motorcade.
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 1        Q.   And do you know if Vice President Mike Pence is, in fact,

 2        inside the motorcade at this time?

 3        A.   I don't believe he is at that point.

 4                     MS. HUGHES:   If we could keep playing.

 5                     (A video recording was played.)

 6        BY MS. HUGHES:

 7        Q.   And are the individuals who are breaking through the

 8        barrier here, are they permitted onto the -- the area that

 9        they're entering into at this point?

10        A.   They are not.

11                     MS. HUGHES:   And if we could pause here for a second.

12        BY MS. HUGHES:

13        Q.   There are individuals that appear to be walking backwards

14        while facing the crowd.      Do you see those individuals?           I've

15        circled them on the screen before you.

16        A.   I do.

17        Q.   Who are those individuals?

18        A.   United States Capitol Police officers.

19                     MS. HUGHES:   If we could keep playing, Ms. Rohde.

20                     (A video recording was played.)

21                     MS. HUGHES:   And if we could pause one more time.

22        BY MS. HUGHES:

23        Q.   At the top of these stairs where the officers are backing

24        up to, there's a door in the center.         Are you familiar with

25        what that door is?
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 1        A.   I am.

 2        Q.   What door is that?

 3        A.   That would be the door that leads into the Rotunda.

 4        Q.   And does that door have a particular name?

 5        A.   The Columbus Doors.

 6        Q.   And so the Columbus Doors, are they on the east side of the

 7        building?

 8        A.   They are.

 9                      MS. HUGHES:   Thank you, Ms. Rohde.       We can keep

10        playing.

11                      (A video recording was played.)

12        BY MS. HUGHES:

13        Q.   And in this video, Captain Ortega, are police officers

14        retreating up the stairs?

15        A.   They are.

16        Q.   Are rioters permitted to walk up the stairs?

17        A.   They are not.

18        Q.   And, again, is this of the Columbus Doors on the east

19        side?

20        A.   It is.

21                      (A video recording was played.)

22        BY MS. HUGHES:

23        Q.   And in these doors --

24                      MS. HUGHES:   If we could pause here for one moment,

25        Ms. Rohde.
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 1        BY MS. HUGHES:

 2        Q.   -- there appears to be a structure that is white tarp.

 3        What is this white tarp behind the -- behind the rioters?

 4        A.   That would be the scaffolding.

 5        Q.   The scaffolding of what?

 6        A.   Of the inauguration stage, inaugural stage.

 7        Q.   And just to be clear, the CCTV footage does not capture

 8        audio; correct?

 9        A.   That is correct.

10                    MS. HUGHES:    If we could keep playing, Ms. Rohde.

11                    (A video recording was played.)

12        BY MS. HUGHES:

13        Q.   And on January 6th, were the rioters permitted on -- this

14        point on the inaugural stage?

15        A.   They were not.

16                    (A video recording was played.)

17        BY MS. HUGHES:

18        Q.   And at that point in the northwest plaza, is that a

19        permitted zone on January 6th?

20        A.   It was not.

21        Q.   Now, at 2:12, what are these doors that we're looking at?

22        A.   We're looking at the Senate wing doors.

23        Q.   And what -- what entry is being broken here?

24        A.   A window is being shattered, and the crowd is breaking

25        through the window.
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 1        Q.   And is it your understanding that this is when the first

 2        breach of the building occurred?

 3        A.   It is.

 4        Q.   And, Captain Ortega, later on in the video, do we see

 5        individuals who are circled who are coming through the Columbus

 6        Doors on the east side?

 7        A.   We do.

 8        Q.   And so these individuals are not coming through the Senate

 9        wing doors?     They come in through a different door --

10        A.   Correct.

11        Q.   -- is that your understanding after having viewed the

12        video?

13        A.   Correct.

14                      (A video recording was played.)

15        BY MS. HUGHES:

16        Q.   And after these first few individuals come through, is your

17        understanding more individuals pour through --

18                      MR. FISCHER:   Your Honor, could we have a sidebar,

19        please.

20                      THE COURT REPORTER:    I'm sorry.      You two were

21        overlapping.

22                      (Bench conference on the record.)

23                      MR. LINDER:    Your Honor, as you can see, they showed

24        the Confederate flag in the montage, and I think the Court was

25        pretty clear to cut it off after the first couple people got
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 1        inside.    They've just ignored the Court's order, and, you know,

 2        I think there needs to be some type of sanction.

 3                     MS. HUGHES:   We -- according to the Court's order, we

 4        cut it off after three individuals entered the door, and then

 5        we moved it back.     And I'll ask him if other individuals

 6        entered.    We did not interpret the Court's order as exorcising

 7        the Confederate flag from the video.         We understood it to be

 8        the mass of people entering.       The government cannot control

 9        what these individuals were carrying when they breached the

10        building.

11                     THE COURT:    Okay.   So, look, I think in retrospect

12        what I said was probably not as clear as it should have been.

13        I certainly didn't say anything about the Confederate flag.

14        That certainly was not any part of my order.           So -- but in

15        terms of when it should have been cut off, I think my intent

16        was before people actually entered the doors.            But be that as

17        it may, I don't think anything that was shown was terribly

18        prejudicial.    And, frankly, most of the crowd that comes in

19        afterwards, that portion was cut off.

20                  So I -- I don't think there's -- there's not a basis for

21        any kind of sanction or any type of instruction to the jury

22        here.   So I'll let it continue to play.

23                     MS. HUGHES:   My apologies, Your Honor, if we -- we

24        understood it was the first --

25                     THE COURT:    No.
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 1                    MS. HUGHES:     My apologies.

 2                    THE COURT:     I'm not sure I was clear.         I could have

 3        been clearer.       So I'm not going to -- that's fine.

 4                    MR. LINDER:     And, Your Honor, if I could say for the

 5        record, I do believe the Court was clear, and I think this is a

 6        flagrant violation of the Court's intent, and it's an ongoing

 7        pattern, and we're very disturbed by it.

 8                    THE COURT:     Well, then let's take -- if you-all want

 9        to look at the videos and these things before they are shown,

10        you know, that would -- that would confirm whether the

11        government has done what I've asked it to do.

12                    MS. HUGHES:     And --

13                    THE COURT:     And perhaps there wasn't time to do that,

14        but -- you know, this was all done on the fly.

15                    MS. HUGHES:     And just for the record, we understood

16        the direction to be that after the first few people entered the

17        door, to stop the video and to then ask the witness:               And do

18        more people enter the video?         Captain Ortega has no knowledge

19        of the defendants.      So I had to craft the questions such

20        that -- to make it clear they were not these defendants in the

21        video.   We are -- you know, this was an on-the-fly editing.

22                    THE COURT:     Right.

23                    MS. HUGHES:     And the government's doing everything in

24        its power to comply with all -- to get, first of all,

25        defendants their exhibits early to review, which they've not
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 1        done, and to comply with any orders coming from the Court.

 2                    THE COURT:    I think I've ruled.       So let's move

 3        forward.

 4                    MS. HUGHES:    Thank you.

 5                    (Proceedings held in open court.)

 6                    MS. HUGHES:    And before we begin, Ms. Rohde --

 7        BY MS. HUGHES:

 8        Q.   Captain Ortega, where are we facing now?

 9        A.   We're looking at the West Front again.

10        Q.   And what is happening here?       Who is -- first of all, who's

11        on the bottom half of this video?

12        A.   You're going to see Metropolitan Police Department officers

13        engaging with the crowd.

14        Q.   And how are they separated by the crowd?           What is between

15        them and the crowd?

16        A.   There is a bike rack.

17                    MS. HUGHES:    If we could keep playing, Ms. Rohde.

18                    (A video recording was played.)

19        BY MS. HUGHES:

20        Q.   And you just see this -- these wafts of smoke.            They appear

21        as smoke coming over the crowd.        Based on your experience that

22        day, are you familiar with what this material was that was in

23        the air?

24        A.   There was different chemical munitions that were being

25        utilized.    Tear gas and some other different chemicals are
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 1        being used.

 2                      MS. HUGHES:   If we can pause here, Ms. Rohde.

 3        BY MS. HUGHES:

 4        Q.   At 2:18, this is the Senate carriage door, is this one of

 5        the official entry points to the United States Capitol?

 6        A.   It is.

 7        Q.   And are these magnetometers supposed to be used to screen

 8        individuals entering the building?

 9        A.   They are.

10        Q.   Do they appear to be used correctly on January 6th?

11        A.   They are not.

12        Q.   And where does the Senate carriage door lead?

13        A.   So you will be on the first floor of the Senate side of the

14        United States Capitol.

15                      MS. HUGHES:   If we could keep playing, please, Ms.

16        Rohde.

17                      (A video recording was played.)

18                      MS. HUGHES:   If we could pause here for a moment.

19        BY MS. HUGHES:

20        Q.   This, at 2:25, is the Crypt.       Again, what is the Crypt?

21        A.   That's the center of the first floor of the United States

22        Capitol.

23        Q.   Is this directly below the Rotunda?

24        A.   It is.

25                      MS. HUGHES:   If we could keep playing, please.
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                                                                               4013

 1                      (A video recording was played.)

 2        BY MS. HUGHES:

 3        Q.   And are these the Columbus Doors that you referenced

 4        before?

 5        A.   It is.    This is the interior of them.

 6                      MS. HUGHES:   At 2:25 p.m.

 7                      (A video recording was played.)

 8                      MS. HUGHES:   And I just want to pause here for a

 9        moment, Ms. Rohde, at 2:26.

10        BY MS. HUGHES:

11        Q.   Do you see the sign to the right of the door, Captain

12        Ortega?

13        A.   I do.

14        Q.   Are you familiar with what this sign says?

15        A.   I can't recall exactly what the wordage is, but it's -- I

16        believe it's a "Do Not Exit" sign.

17                      MS. HUGHES:   If we could keep playing, please.

18                      (A video recording was played.)

19        BY MS. HUGHES:

20        Q.   And what is this area, this small rotunda on the House

21        side?

22        A.   So on the other side of it would be the Memorial Door, and

23        facing that white room is stair -- a stairwell that takes you

24        up towards the Speaker's office.

25        Q.   And so is the Speaker's office on the second floor?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 21 of 181
                                                                               4014

 1        A.   It would be on the second floor; correct.           This is on the

 2        first floor.

 3                      (A video recording was played.)

 4        BY MS. HUGHES:

 5        Q.   Captain Ortega, are you familiar with this hallway?

 6        A.   I am.

 7        Q.   And, first of all, the individuals who are retreating

 8        facing the crowd, are those law enforcement?

 9        A.   They are.

10        Q.   Where does this hallway lead to?

11        A.   So they're heading toward the south door of the

12        U.S. Capitol.

13                      (A video recording was played.)

14        BY MS. HUGHES:

15        Q.   And is this on the west side, Captain Ortega?

16        A.   It is.

17                      MS. HUGHES:   And if we could just pause here, Ms.

18        Rohde.

19        BY MS. HUGHES:

20        Q.   The time stamp here is 2:33.       Do you recall where you were

21        at around 2:33 p.m.?

22        A.   I would say I was back on the east -- I believe on the

23        East Front at that point.

24        Q.   So you hadn't yet returned to the -- you hadn't come back

25        to the west side?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 22 of 181
                                                                               4015

 1        A.   I don't believe at this point.

 2        Q.   And if you could just point out, where is law enforcement

 3        in relation to the crowd on the West Front?

 4        A.   So you have law enforcement that's on the inaugural stage,

 5        and you have some that are still on the lower west terrace

 6        portion.     As you can see, the crowd is -- they're starting to

 7        outnumber the officers.

 8                     MS. HUGHES:    If we can keep playing, Ms. Rohde.

 9        Thank you.

10                     (A video recording was played.)

11        BY MS. HUGHES:

12        Q.   And, Captain Ortega, do you know where this hallway leads?

13        A.   Yes.    It is right outside of the House Chamber.

14        Q.   And at the end of the hallway, do you see what appear to be

15        rioters butting law enforcement?

16        A.   I do.    I see them.

17                     (A video recording was played.)

18        BY MS. HUGHES:

19        Q.   Are these the Columbus Doors again?

20        A.   They are.

21        Q.   Are those benches?     Were they there in the last shot, if

22        you recall?

23        A.   No, they were being utilized to barricade the door.

24        Q.   And do you see law enforcement standing in front of the

25        door facing the rioters that are inside the building?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 23 of 181
                                                                                  4016

 1        A.   I do.

 2                     (A video recording was played.)

 3        BY MS. HUGHES:

 4        Q.   How close are these doors to the Rotunda itself?

 5        A.   Right on the other side.      So you have about 10 feet or so

 6        until you enter the Rotunda.

 7                     (A video recording was played.)

 8        BY MS. HUGHES:

 9        Q.   And at 2:40, there's a circle in the video.           Just to be

10        clear, Capitol Police CCTV footage did not impose the circle on

11        the video; correct?

12        A.   That is correct.

13        Q.   That was done by -- your understanding, this was done by

14        the prosecution team?

15        A.   Correct.

16                     (A video recording was played.)

17        BY MS. HUGHES:

18        Q.   And so, again, this 2:41 time stamp, that is, though,

19        however, produced by the CCTV footage.          It's not produced by --

20        it's not imposed like the circle is?

21        A.   Correct.

22        Q.   And the direction they're going is towards the Rotunda?

23        A.   That is correct.

24        Q.   Where does the door to the House Chamber lead?            This is at

25        2:41.
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 24 of 181
                                                                                4017

 1        A.   So they're at -- coming up the stairs and if -- the

 2        direction that they're walking towards in the photo on the

 3        screen on the left is going towards the House Chamber.

 4        Q.   Is this the hallway outside the Senate Gallery?

 5        A.   It is.

 6                      MS. HUGHES:   Where -- if we could pause here, Ms.

 7        Rohde.

 8        BY MS. HUGHES:

 9        Q.   Where, in fact, is the Senate Gallery?

10        A.   That would be the brown doors on the right side of the

11        photo.

12        Q.   Could you please mark the doors.

13                      MS. HUGHES:   And we can keep playing, Ms. Rohde.       And

14        for the record, the witness placed a blue circle on the three

15        doors that are at 2:42.

16                      (A video recording was played.)

17        BY MS. HUGHES:

18        Q.   And does this appear to be rioters trying to enter the

19        chamber itself?

20        A.   It does.

21                      (A video recording was played.)

22        BY MS. HUGHES:

23        Q.   Does it, in fact, appear that they entered the chamber?

24        A.   They did.      They did enter the chamber.

25                      (A video recording was played.)
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 25 of 181
                                                                               4018

 1                    MS. HUGHES:    And pause here for a moment.

 2        BY MS. HUGHES:

 3        Q.   Captain Ortega, have you listened to this audio clip?

 4        A.   I have.

 5        Q.   And it says that this is an audio clip from Main Ops 2.

 6        What is the Main Ops 2 radio channel?

 7        A.   It would be our second channel on the -- on our radio

 8        system.   We have a Main Ops 1 and a Main Ops 2.           Main Ops 2 is

 9        typically the outside channel.

10        Q.   Was it used as the outside channel on January 6th?

11        A.   I believe it was.

12        Q.   And is it your understanding that -- that there is a

13        dispatcher who operates on this channel as well?

14        A.   There is.

15        Q.   And does the dispatcher prevent individuals from talking

16        over each other?

17        A.   The dispatcher cannot -- it cannot stop -- what will happen

18        is if two people key up at the same time, there will be a tone

19        that goes through that prevents that person from cutting off.

20                    MS. HUGHES:    If we could please continue playing the

21        video [sic].     Thank you, Ms. Rohde.

22                    (An audio recording was played.)

23                    MS. HUGHES:    If we could pause there.

24        BY MS. HUGHES:

25        Q.   Is that the dispatcher that was just speaking?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 26 of 181
                                                                               4019

 1        A.   It is.

 2        Q.   And so what is the dispatcher asking at that point in the

 3        video [sic]?

 4        A.   Asking if any officers can advise if the House Floor has

 5        been evacuated.

 6                      MS. HUGHES:   Continue, please, Ms. Rohde.

 7                      (An audio recording was played.)

 8                      MS. HUGHES:   If we can pause there, Ms. Rohde.

 9        BY MS. HUGHES:

10        Q.   "Shots fired.    House Floor."     Was that the dispatcher that

11        was speaking at that point?

12        A.   The initial person that talked was whichever officer was on

13        the House Floor putting out the shots fired on the House Floor.

14                      MS. HUGHES:   Can we go back just a few seconds, Ms.

15        Rohde.

16                      (An audio recording was played.)

17                      MS. HUGHES:   And pause there.

18        BY MS. HUGHES:

19        Q.   So there's an initial callout for shots fired, and then

20        there's a second one.

21        A.   Yes.

22        Q.   Could you please explain what you understand that to be.

23        A.   The initial one would be the officer, the repeat would be

24        USCP dispatch repeating the call.        And then there's a third

25        portion casting any units through, that would be a dispatcher
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 27 of 181
                                                                               4020

 1        as well.

 2        Q.   Captain Ortega, do you recall this callout on January 6th?

 3        A.   I do.

 4        Q.   Where were you?

 5        A.   I was on the East Front of the U.S. Capitol outside the

 6        Senate carriage door.

 7        Q.   Why do you remember -- in a day that was so chaotic, why do

 8        you remember this callout?

 9        A.   Any time you hear the call shots fired, it's a terrifying

10        experience to hear because you don't -- and at this time I

11        didn't know if it was one of my officers that was taking shots

12        or was shooting, and I didn't know if members of Congress were

13        still on the floor.     So it was very unnerving to hear "Shots

14        fired" on the House Floor.

15        Q.   Was this a unique callout in the day?

16        A.   It was.

17                     MS. HUGHES:   If we could keep playing, Ms. Rohde.

18                     (An audio recording was played.)

19                     MS. HUGHES:   If we could pause.

20        BY MS. HUGHES:

21        Q.   What did we just hear then?

22        A.   We have an officer that's working at one of the fire panels

23        advising that there's a fire alarm going off and we need to get

24        someone to respond to the fire alarm; otherwise we're going to

25        have to evac the building.
     Case 1:22-cr-00015-APM     Document 731   Filed 01/02/24   Page 28 of 181
                                                                                   4021

 1                        MS. HUGHES:   If we could please continue playing.

 2                        (An audio recording was played.)

 3                        MS. HUGHES:   And pause there, please.

 4        BY MS. HUGHES:

 5        Q.     This 14:44 hours, what is that?

 6        A.     The 14:44 hours is going to be a time check -- time check

 7        from the dispatcher.

 8        Q.     So what can you interpret between the shots fired callout

 9        and this 14:44 hours notation by dispatch?

10        A.     That at approximately 14:44 hours, we had shots fired on

11        the House Floor.

12                        MS. HUGHES:   You can keep playing, Ms. Rohde.         Thank

13        you.

14                        (A video recording was played.)

15        BY MS. HUGHES:

16        Q.     And, again, this is the Senate wing door, is at 2:48,

17        Captain Ortega?

18        A.     It is.    We have the crowd now pushing past the officers and

19        getting inside the Senate wing doors.

20        Q.     What side of the building are these doors on?

21        A.     So that's still coming from the West Front area into the

22        Senate side of the building.

23                        (A video recording was played.)

24                        MS. HUGHES:   And if we could pause here at 3:01, Ms.

25        Rohde.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 29 of 181
                                                                               4022

 1        BY MS. HUGHES:

 2        Q.   Do you recognize this hallway?

 3        A.   I do.

 4        Q.   What is this hallway?

 5        A.   So we're facing the -- coming up inside, there's going to

 6        be the lobby into the Senate Chamber, and inside of that is

 7        going to be the Vice President's office.

 8        Q.   So can you see the Vice President's office in this shot?

 9        A.   You cannot in the -- you cannot in the shot, but inside

10        the doors, right on the right, will be the Vice President's

11        office.

12        Q.   Could you please circle the doors.

13                     MS. HUGHES:   And the witness has circled the doors on

14        the right-hand side of the shot at 3:01 p.m.

15        BY MS. HUGHES:

16        Q.   And, Captain Ortega, are visitors ever allowed in this

17        hallway?

18        A.   They are not.

19                     MS. HUGHES:   Can we please keep playing, Ms. Rohde.

20                     (A video recording was played.)

21        BY MS. HUGHES:

22        Q.   Captain Ortega, do you know who typically would sit at this

23        station?

24        A.   Yes.    It would be the Senate Doorkeeper's office.

25                     (A video recording was played.)
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 30 of 181
                                                                                4023

 1        BY MS. HUGHES:

 2        Q.   At 3:14 p.m., Captain Ortega, are these -- is it your

 3        understanding that these circles that you now see on the screen

 4        were also added by the prosecution team; they're not imposed by

 5        the CCTV footage itself?

 6        A.   That is correct.

 7        Q.   But are these also the same east doors, the same Columbus

 8        Doors, we've been talking about?

 9        A.   They are.

10        Q.   And, again, at -- at 3:21 there are additional circles.

11        These also were not placed by CC footage but by the prosecution

12        team; correct?

13        A.   That is correct.

14        Q.   And at 3:28, is this the same Columbus Doors?

15        A.   It is.

16        Q.   And in --

17                      MS. HUGHES:   My apologies, Ms. Rohde.       If we can go

18        back just 2 seconds there.

19                      (A video recording was played.)

20        BY MS. HUGHES:

21        Q.   In the center here, can you see law enforcement officers in

22        the center of this riot?

23        A.   I do.    It's a mix of Metropolitan Police Department

24        officers and U.S. Capitol Police officers.

25        Q.   And could you describe who came to the Capitol.            After the
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 31 of 181
                                                                                 4024

 1        initial breach, what federal agencies responded, in addition to

 2        the efforts by the U.S. Capitol Police?

 3        A.   We had United States Secret Service Uniformed Division.            We

 4        had United States Park Police.       We had the Bureau of Alcohol,

 5        Tobacco, Firearms and Explosives, the Federal Bureau of

 6        Investigations, to name a few.

 7                      MS. HUGHES:   We can keep playing.      Thank you, Ms.

 8        Rohde.

 9                      (A video recording was played.)

10        BY MS. HUGHES:

11        Q.   And does this appear to be rioters being escorted from the

12        building?

13        A.   It does.

14        Q.   Captain Ortega, what is your understanding --

15                      MS. HUGHES:   And we can take that down.        Thank you,

16        Ms. Rohde.

17        BY MS. HUGHES:

18        Q.   What is your understanding of where congressional members

19        went during this breach; in general scopes, not in specific

20        buildings they went to?

21        A.   They were relocated.

22        Q.   And were you part of the efforts to return them to the

23        Capitol at some point?

24        A.   I was.

25        Q.   Could you please explain what you did.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 32 of 181
                                                                                  4025

 1        A.     Once -- once the members were relocated, I assisted with

 2        securing them in a relocation center.          I had to assist with

 3        ensuring that there was a pathway to bring them through.              Once

 4        I had secured a route to bring them back to the Capitol, I led

 5        the -- the escort, with additional agencies, to bring them back

 6        to the Senate.

 7        Q.     Approximately what time did they return to the Capitol

 8        Building?

 9        A.     I do not recall the time.

10        Q.     Was it dark out?

11        A.     It was.

12        Q.     Captain Ortega, what time was your shift supposed to end

13        that day?

14        A.     It probably would have ended around maybe 5:30 p.m.

15        Q.     What time did you, in fact, leave the Capitol that day?

16        A.     Closer to 6:00 a.m. the next morning.

17                     MS. HUGHES:   No further questions.

18                                   CROSS-EXAMINATION

19        BY MR. LINDER:

20        Q.     Good afternoon, Mr. -- Captain Ortega.        Excuse me.      How are

21        you?

22                  Just a couple of extremely brief questions.

23                     MR. LINDER:   Ms. Rohde, would you mind for us

24        bringing up what's been marked Government's Exhibit 7025, a

25        picture from --
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 33 of 181
                                                                               4026

 1                     THE COURT REPORTER:    A picture from?

 2                     MR. LINDER:   It's been previously marked as

 3        Government's Exhibit 7025.

 4        BY MR. LINDER:

 5        Q.   Captain Ortega, when there are various events that are

 6        planned around the Capitol complex, they are given designated

 7        areas; is that correct?

 8        A.   Can you repeat the question, sir.

 9        Q.   Like -- so y'all are made aware when there are permitted

10        events, speeches, rallies that have been allowed on the

11        Capitol Grounds or surrounding the Capitol Grounds?

12        A.   Correct.

13        Q.   Okay.    Do you designate those given areas with specific

14        numbers?     Like, if a permit for a speech is going to be, say,

15        over in front of the Supreme Court in what could be called a

16        smaller Ellipse, is that given an area number, by chance, or

17        how is that designated?

18        A.   So our special event section designates where events are.

19        Groups have to apply for permits in order to be able to protest

20        on Capitol Grounds.

21        Q.   And are you aware on the 5th and the 6th of January that

22        there were multiple events that had proper permits that were to

23        be allowed on that -- those days?

24        A.   I am aware that there were some permitted events on

25        Capitol Grounds.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 34 of 181
                                                                               4027

 1        Q.   Do you -- to the best of your memory -- I know it's been a

 2        while, but do you remember any of the specific ones that had

 3        been planned in their locations by chance?

 4                     MS. HUGHES:    Objection.   Out of scope.

 5                     THE COURT:    Overruled.

 6        A.   I don't.

 7        BY MR. LINDER:

 8        Q.   Okay.   But you -- you're familiar -- then if you don't

 9        remember the exact events that might have been planned, do

10        you -- do you have from your personal history working on the

11        Hill for so long a knowledge of the numerical value of how

12        those locations would be?      Like, where would Section 8 be or

13        Area 8 be?    Where is that located?       Do you know?

14        A.   I would have to look at a map.

15        Q.   Okay.   Can you look at the map we're showing you right now

16        and give me an idea of where Area 8 might be.

17        A.   No, I couldn't.      I would need to look at the map that shows

18        where the designated areas are.

19        Q.   Fair enough.

20                  So would you recall from your knowledge as captain on

21        that day that there was a specific speaker name Ali Alexander

22        that had a legal permit in Area 8?         Would you --

23                     MS. HUGHES:    Objection.   Well outside the scope of

24        direct.

25                     THE COURT:    That is outside the scope.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 35 of 181
                                                                               4028

 1                     MR. LINDER:    No further questions, Your Honor.

 2                                   CROSS-EXAMINATION

 3        BY MR. FISCHER:

 4        Q.   Good afternoon, Captain.

 5        A.   Good afternoon, sir.

 6        Q.   I represent Mr. Caldwell.

 7                  First of all, thank you for doing a tough job on

 8        January 6th, sir.

 9                  I just have a few questions.      I'm going to have Ms.

10        Rohde pull up Government's Exhibit 7026.            You've already

11        identified that picture; is that correct, sir?

12        A.   Yes, sir.

13        Q.   And you'd agree the red line that has been superimposed on

14        that picture, that was the perimeter around the Capitol that

15        day to -- as far as who was authorized and not authorized to

16        come on the Capitol Grounds; is that correct?

17        A.   Correct, sir.

18        Q.   Sir, could you draw a circle around the Peace Monument,

19        please.

20                  And so, sir, the Peace Monument, there's -- there's a

21        circle that surrounds the Peace Monument; is that correct?

22        A.   That is correct.

23        Q.   And in the middle of that -- in the middle of that circle

24        is a fountain; is that correct?

25        A.   It is a statue.
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 36 of 181
                                                                                4029

 1        Q.   Okay.   And you also -- there's a walkway that leads from

 2        the Peace fountain up to the Capitol steps; is that correct?

 3        A.   Correct, sir.

 4        Q.   And, sir, ordinarily -- I know this was -- on January 6, at

 5        the time it was blocked off, but ordinarily on -- on a typical

 6        day at the Capitol, it's perfectly lawful for one to walk up to

 7        the Capitol steps by that walkway from the Peace fountain to

 8        the Capitol steps; does that sound correct?

 9        A.   Yes, sir.

10        Q.   Okay.   In fact, even today you can do that; is that right?

11        A.   Correct.    There are certain places that have fencing on it

12        closer to -- closer, but, yes, you can use the Penn Ave

13        walkway.

14        Q.   And even the Capitol steps, I believe at the time, you

15        would have -- I believe an officer would be posted at the top

16        of the steps when people would come up and try to walk up the

17        steps; is that correct?

18        A.   We would use officers there to prevent folks from coming up

19        those stairs.

20        Q.   Okay.   So -- but somebody could come in -- if they wanted

21        to try to enter the Capitol, they'd have to have a reason when

22        they started going up the steps, and you would, obviously,

23        approach them at that time and ask, you know, whether -- what

24        their reason was for coming; is that correct?

25        A.   Yes, sir.      But if they're coming up the west terrace side,
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 37 of 181
                                                                                4030

 1        that's not an entrance for the public.

 2        Q.   I -- I understand, sir.       I understand.     You know that, but

 3        you would agree, certainly, the Capitol was also colloquially

 4        called The People's House; is that correct?           You've heard that

 5        before?

 6        A.   I have heard that saying before.

 7        Q.   Okay.   And back to the -- the Peace fountain.           If I can go

 8        to --

 9                     MR. FISCHER:   Court's indulgence.

10                  Ms. Rohde, if you can pull up 1515.1, please.

11                  Okay.   And if we could just stop the footage when it

12        shows the Peace fountain, the first point.           We can stop right

13        there, please.

14        BY MR. FISCHER:

15        Q.   Sir, can you tell the jury what that -- what's up on the

16        screen, what that depicts?

17        A.   We're looking at Peace Circle facing the Penn Ave walkway

18        towards the Capitol.

19        Q.   Okay.   And this appears to be at 12:51 p.m.; is that right?

20        A.   That is correct, sir.

21        Q.   Okay.   Now, I see there are officers who are stationed up

22        there, and there appear to be some bike racks that are blocking

23        the walkway up to the Capitol; is that correct?

24        A.   That is correct, sir.

25        Q.   And you would agree, sir, that -- not long after this
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 38 of 181
                                                                               4031

 1        portion of the video, you would agree that at some point there

 2        was -- there were people in this crowd that went up and -- and

 3        rushed at the bike racks at some point; is that correct?

 4        A.   That is correct, sir.

 5        Q.   And also there were -- there were some people, multiple

 6        people, that grabbed those bike racks in front of the police

 7        and -- and took them and -- and dispersed them in various

 8        places; is that correct?

 9        A.   They -- what I could see from the footage is they utilized

10        those bike racks to strike my officers.

11        Q.   And, sir, that's very unfortunate, and -- certainly it's

12        unfortunate.    But there were individuals, though -- those bike

13        racks -- in other words, a little bit later, if this video were

14        to play on for several minutes later, the bike racks would not

15        be in this picture; is that correct?

16        A.   I couldn't tell you, sir.      I couldn't see after that

17        footage.     If you have an exhibit that can show me that, I'd be

18        happy to.

19        Q.   Okay.    Fair enough.

20                But at some point, also, your officers basically went

21        back, and went back towards the Capitol and -- and left this

22        place where they're at in this picture; is that correct, sir?

23        A.   That is correct.

24        Q.   Okay.    And isn't it true that there were a lot of bike

25        racks and fencing, I think what you were talking about, that
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 39 of 181
                                                                                4032

 1        were removed by some of the earliest protesters who arrived at

 2        the Capitol?    Isn't that true?

 3        A.   There were several perimeters that the crowd were able to

 4        push through.

 5        Q.   And, in fact, sir, isn't it true, I believe, maybe within

 6        ten minutes of -- or less of -- from 12:51 p.m., that this

 7        walkway up to Capitol Hill was completely free of police

 8        officers and of bike racks or fences?

 9        A.   I -- I'm not sure.      I couldn't see at that point, sir.

10        Q.   Okay.    Fair enough.

11                Sir, the bike racks -- and I'm going to point down to --

12        if you look towards the lower almost left, there appears to be

13        a sign on the bike rack.      Do you see where I'm pointing?         Can

14        you draw around where I'm pointing for the jury?

15        A.   You're referring to these?

16        Q.   Actually, lower.     Down on the bottom of the picture.         The

17        bike racks are at the bottom of the picture.

18                Okay.    And, sir, isn't it true the -- those signs

19        on those bike racks say property of the United States

20        government?

21        A.   I am not sure what those signs say.

22        Q.   Okay.    I -- I take it -- the signs that are below the

23        police, what do those signs say?        Do you recall?

24        A.   So these were -- the ones that we looked at -- and you can

25        actually see some of them here.        That say "Area Closed By order
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 40 of 181
                                                                               4033

 1        of the United States Capitol Police Board."           I can't tell from

 2        this footage what those signs say.

 3        Q.   Fair enough.

 4                  Now, sir, you testified at one point, you got reports of

 5        shots fired in the Capitol; is that correct?

 6        A.   That is correct, sir.

 7        Q.   And that was -- there was -- there was a police -- a

 8        police-involved shooting with a young lady.           I believe her name

 9        was Ashli Babbitt.     Is that correct?

10        A.   That is correct, sir.

11        Q.   And, sir -- and I understand, sir -- and I understand it

12        was a police-involved shooting and it's been ruled -- it's been

13        ruled a justifiable homicide; is that correct?

14        A.   As far --

15                     MS. HUGHES:   Objection.

16                     THE COURT:    Sustained.

17        BY MR. FISCHER:

18        Q.   Okay.   All right.    Sir, as a result -- as a result of that

19        shooting, you would agree that instantly that became a crime

20        scene that would have had to --

21                     MS. HUGHES:   Objection.

22                     THE COURT:    Let him ask -- ask the question first,

23        please.

24        BY MR. FISCHER:

25        Q.   You'd agree as a result of the police-involved shooting,
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 41 of 181
                                                                               4034

 1        that that immediately became a scene for investigation for the

 2        Capitol Police; is that fair to say?

 3        A.   That is fair to say.

 4        Q.   You'd also agree that at some point there was tear gas that

 5        was dispersed inside of the Capitol; is that correct?

 6        A.   I'm not sure about inside the Capitol.          I wasn't in there.

 7        Q.   Okay.   And also, sir, you would agree -- I mean, there

 8        were, obviously, individuals who made it inside the Senate

 9        Chamber; correct?

10        A.   That is correct.

11        Q.   Okay.   And as a result of that, the Senate Chamber was also

12        at that point considered a crime scene; is that correct?

13        A.   Sir, you could actually consider the entire event an active

14        crime scene.

15        Q.   Fair enough, sir.

16                I guess my point is, sir, once -- obviously, what was

17        going on -- the Electoral College certification was what was

18        going on on January 6th; correct?

19        A.   That is correct.

20        Q.   And as a result of the breach and -- and people being

21        in the Capitol and police-involved shooting, you would agree

22        that the -- what was going on in the electoral certification

23        had to be recessed or postponed to a later time; is that

24        correct?

25        A.   Can you repeat the question, sir.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 42 of 181
                                                                               4035

 1        Q.   Sure.

 2                As a result of the -- what happened, as we just

 3        discussed, the police-involved shooting, the breach of the

 4        Capitol, the breach of the Senate Floor, the events that were

 5        going on that day were, obviously, stopped; correct?

 6        A.   We had to conduct an emergency evacuation.

 7        Q.   Absolutely.

 8                And so, obviously, it was as a result of the

 9        police-involved shooting, the investigation into that, the --

10        what happened on the Senate Floor, and the breach in general,

11        obviously the proceeding could not proceed until -- what? --

12        several hours later; is that fair to say?

13        A.   Correct.

14                     MR. FISCHER:    I have nothing further, Your Honor.

15                     THE COURT:   Thank you, Mr. Fischer.

16                Mr. Woodward?     Ms. Haller?

17                                  CROSS-EXAMINATION

18        BY MR. WOODWARD:

19        Q.   Good afternoon, sir.

20        A.   Good afternoon, sir.

21        Q.   My name is Stanley Woodward.       I represent Kelly Meggs.     And

22        let me start by thanking you for your service.

23                     MR. WOODWARD:   I'd like to begin -- sir, it will be

24        just me.

25                If we could -- and, Mr. Douyon, if we could just show
     Case 1:22-cr-00015-APM   Document 731    Filed 01/02/24   Page 43 of 181
                                                                                  4036

 1        the witness.

 2        BY MR. WOODWARD:

 3        Q.   Sir, do you recognize this area?

 4        A.   I do.

 5                     (A video recording was played.)

 6                     MR. WOODWARD:   And if I could impose upon the

 7        government to display Exhibit 7026, please.

 8        BY MR. WOODWARD:

 9        Q.   Could you indicate for the jury what we were looking at?

10        A.   That appeared to be the Northwest Drive.            Would you like

11        to -- me to point it on the --

12        Q.   I would welcome that.     Thank you.

13                     MR. WOODWARD:   All right.      And if we could -- if we

14        could go back, Mr. Douyon.         We would then --

15                     (A video recording was played.)

16        BY MR. WOODWARD:

17        Q.   Do you recognize this video to portray what it depicts as

18        a -- the events of that day?

19        A.   I mean, there were people in the crowd.           So I would say

20        yes, sir.

21                     MR. WOODWARD:   All right.      We would move to admit

22        this as KM.16.

23                     MS. HUGHES:   No objection.

24                     MR. WOODWARD:   All right.      Now, sir, if we could

25        publish this for the jury.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 44 of 181
                                                                               4037

 1                     THE COURT:   KM.16 is admitted.

 2                     (Defendant Meggs Exhibit KM.16 admitted into

 3        evidence.)

 4        BY MR. WOODWARD:

 5        Q.   Do you see there's a sidewalk there?

 6        A.   That is correct, sir.

 7        Q.   And beyond the sidewalk appears to be a fence?

 8        A.   Correct, sir.

 9        Q.   And beyond the fence -- the fence you described earlier, I

10        think, is snow fence?

11        A.   That is correct, sir.     It appears to be the snow fence.

12        Q.   All right.     And there are signs on that fence?

13        A.   That is correct, sir.

14        Q.   And the signs say something to the effect of keep out?

15        A.   Correct, sir.    It says something to the effect of area

16        closed by United States Capitol Police Board.

17        Q.   Very good.

18                So where these people are standing on the sidewalk, is

19        there anything improper about that?

20        A.   So where they are at is still technically inside of our

21        inner perimeter.     They're inside that red -- if you look at the

22        photo -- the exhibit that has the --

23                     MR. WOODWARD:   If you can go back to Government's

24        Exhibit --

25        A.   -- the red fencing, they're inside of it.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 45 of 181
                                                                                  4038

 1        BY MR. WOODWARD:

 2        Q.   And it looks like your mark is gone.           Could you put the

 3        mark back on the screen for us, please, sir.

 4        A.   So there inside of our perimeter.

 5        Q.   All right.     Now, that video appeared to show parking.        Is

 6        parking where you've just drawn the line?

 7        A.   Correct.   The Northwest Drive -- Northwest-Northeast Drive

 8        has parking there.

 9        Q.   It's just behind the trees there?

10        A.   Correct.

11        Q.   Okay.

12        A.   There's a road -- it's a road.

13        Q.   It's a road?

14        A.   Yeah.

15        Q.   All right.     And so if we could then switch back to -- there

16        are signs, then, presumably, outside this area that say do not

17        enter?

18        A.   That is correct.

19        Q.   Okay.

20                     MR. WOODWARD:   If we could just do me.

21        BY MR. WOODWARD:

22        Q.   And now, Captain, do you recognize this area?

23        A.   Correct.   I do.

24        Q.   Separate from the boxes that have been drawn, is this a

25        true and accurate depiction of what it purports to be?
     Case 1:22-cr-00015-APM     Document 731     Filed 01/02/24   Page 46 of 181
                                                                                     4039

 1        A.     It is.

 2                        MR. WOODWARD:   We would move to admit this video as

 3        KM.17.

 4                        MS. HUGHES:   No objection.

 5                        THE COURT:    Basis?   Basis for the objection?

 6                        MS. HUGHES:   No objection.

 7                        THE COURT:    Oh, I thought you said objection.          Okay.

 8        Sorry.

 9                  KM.17 will be admitted.

10                        (Defendant Meggs Exhibit KM.17 admitted into

11        evidence.)

12                        MR. WOODWARD:   Okay.    If we could flip back to the

13        government's exhibit.

14        BY MR. WOODWARD:

15        Q.     If you know, could you show us where on this map that video

16        is depicting.

17        A.     From that side, I can't tell you which side of the Capitol

18        it is.

19        Q.     Okay.

20                        MR. WOODWARD:   If we could go back to me.          Thank you,

21        sir.

22        BY MR. WOODWARD:

23        Q.     And you see, again, here is the -- the fencing that you

24        were speaking about, including some bicycle racks and some snow

25        fencing?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 47 of 181
                                                                               4040

 1        A.   Correct, sir.

 2        Q.   And the signs that you testified about?

 3        A.   That is correct, sir.

 4        Q.   All right.

 5                     MR. WOODWARD:   And just me again, if you don't mind,

 6        Mr. Douyon.

 7                     (A video recording was played.)

 8                     MR. WOODWARD:   And now the captain.

 9        BY MR. WOODWARD:

10        Q.   Do you recognize this video, and is it a true and accurate

11        depiction of what it purports to be?

12        A.   Yes, sir, I do recognize this.

13                     MR. WOODWARD:   And we would seek to move -- admit

14        this as KM.18.

15                     MS. HUGHES:   No objection.

16                     THE COURT:    All right.   KM.18 will be admitted.

17                     (Defendant Meggs Exhibit KM.18 admitted into

18        evidence.)

19                     MR. WOODWARD:   And just me, Mr. Douyon.

20                And if we could show this to the captain.

21        BY MR. WOODWARD:

22        Q.   Do you recognize this area?

23        A.   I do.

24        Q.   And would you be able to identify this location on the

25        government's exhibit?
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 48 of 181
                                                                                  4041

 1        A.   Yeah, it appears to be of the northwest walkway.            This

 2        appears to be the Russell building right across.

 3        Q.   Could we put -- well, first, is this a true and accurate

 4        depiction of what it purports to be?

 5        A.   It is.

 6                      MR. WOODWARD:   We would move this as KM.19.

 7                      MS. HUGHES:   No objection.

 8                      THE COURT:    All right.

 9                      MR. WOODWARD:   If we can switch to Government's

10        Exhibit 7206.

11                      THE COURT:    KM.19 is admitted.

12                      (Defendant Meggs Exhibit KM.19 admitted into

13        evidence.)

14        BY MR. WOODWARD:

15        Q.   Could you indicate for the jury where the video we're about

16        to see is depicting, roughly?

17        A.   It seems like right around this area.

18        Q.   Very good.

19                      MR. WOODWARD:   And if we could switch back and

20        publish to the jury.

21        BY MR. WOODWARD:

22        Q.   Now, you didn't -- this red circle wouldn't have appeared

23        on the original CCTV footage?

24        A.   That is correct, sir.

25        Q.   Okay.    And on the right-hand side of this video, you see
     Case 1:22-cr-00015-APM    Document 731    Filed 01/02/24   Page 49 of 181
                                                                                 4042

 1        the -- I believe you called it snow fence?

 2        A.    That is correct, sir.

 3        Q.    And -- and there are signs on that snow fence that say --

 4        A.    "Area Closed By order of the United States Capitol Police

 5        Board."

 6        Q.    Area closed.    Okay.

 7                       (A video recording was played.)

 8                       MR. WOODWARD:   All right.     And just me again.

 9        BY MR. WOODWARD:

10        Q.    And now, Captain Ortega, do you recognize this -- this

11        area?

12        A.    I do.

13        Q.    Is it a true and accurate depiction of what it purports to

14        be?

15        A.    It is.

16                       MR. WOODWARD:   Defense would seek to admit this at

17        KM.19 -- 20.

18                       THE COURT:    Okay.

19                       MS. HUGHES:    No objection.

20                       THE COURT:    KM.20 is admitted.

21                       (Defendant Meggs Exhibit KM.20 admitted into

22        evidence.)

23        BY MR. WOODWARD:

24        Q.    And, Captain Ortega, could you point out to the jury -- if

25        I showed you the map again, could you point out to the jury
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 50 of 181
                                                                               4043

 1        where this is?

 2        A.   Yes, sir.

 3                      MR. WOODWARD:   If we could put Government's

 4        Exhibit 7026 back on the screen.

 5        BY MR. WOODWARD:

 6        Q.   And if you could indicate where.

 7        A.   It's going to be right around this area.

 8                      MR. WOODWARD:   All right.    If we could switch back to

 9        me and publish to the jury, please.

10        BY MR. WOODWARD:

11        Q.   Now, Captain Ortega, do you see this umbrella that has been

12        knocked over here?

13        A.   I do, sir.

14        Q.   And do you know what that -- what purpose that umbrella

15        served?

16        A.   We have those umbrellas out for the officers to seek shade

17        when it's very sunny outside.

18        Q.   I see.    So that shouldn't be on the side like that?

19        A.   It should not be on the ground like that.

20        Q.   In fact, that entire walkway should have been blocked off

21        by bicycle fencing?

22        A.   There should have been some sort of a barrier that

23        prevented individuals from coming in.

24        Q.   And if you see now where that red circle is, there appears

25        to be bicycle fencing that has been pushed off into the bushes
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 51 of 181
                                                                                 4044

 1        there?

 2        A.   Yes, I see some over there.       I don't know how it was

 3        staged, though, prior to.

 4        Q.   Well, it wasn't staged in the bushes?

 5        A.   I've not seen that, but.

 6                     MR. WOODWARD:   Thank you, Your Honor.        I have no

 7        further questions.

 8                     THE COURT:   Okay.    Mr. Geyer.

 9                                  CROSS-EXAMINATION

10        BY MR. GEYER:

11        Q.   Captain, thank you so much for your service.           Thank you for

12        being here.    Sorry you had to go through all that.           I

13        appreciate you being here today.

14                 I represent Ken Harrelson, who is in the back corner.

15                 And I'm hoping that you can help me authenticate some

16        cameras.

17        A.   Sure.

18        Q.   Maybe provide us -- you said you've been with the U.S.

19        Capitol Police for 15 years?

20        A.   That is correct, sir.

21        Q.   So I have a feeling you pretty much have seen everything on

22        that campus, is my guess; is that correct?

23        A.   A good amount, sir.

24        Q.   If you allow me just a moment to plug in, so to speak.

25                     MR. GEYER:   Thank you.    Can I publish the exhibit for
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 52 of 181
                                                                               4045

 1        the witness.

 2        BY MR. GEYER:

 3        Q.   In the upper left, you'll see Camera 0902; in the upper

 4        right, 0762; in the lower left, 0933; and in the lower right,

 5        0907.   These were -- these are -- cameras are synced, except

 6        for a short period of time in the upper right when the camera

 7        was zoomed.    It is as it was fed to us through -- through CCTV,

 8        which is a very excellent system.        The evidence.com system is

 9        very excellent.     Do you recognize these cameras?

10        A.   I do.

11        Q.   These are a true and accurate depiction of these cameras?

12        A.   They are.

13        Q.   One of the things, when Mr. Woodward was just asking you

14        questions, showing the northeast gates, there's a lot of

15        context about that because at that moment, weren't your

16        resources in the east very taxed because there was an active

17        battle raging in the west?

18        A.   We were actually fighting the battle on two fronts, the

19        east and west, at the same time.

20        Q.   And at about 12:30 or thereabouts, people -- some who later

21        turned out to be provocateurs -- showed up around the Peace

22        Circle; is that correct?

23        A.   I'm sorry.     Can you repeat that, sir.

24        Q.   Sure.    At around 12:30, even before President Trump spoke,

25        people started showing up around the Peace Circle and at, I
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 53 of 181
                                                                                4046

 1        believe, around 12:47 or thereabouts, broke through the

 2        Peace Circle; is that correct?

 3        A.   There was a group gathered up around 12:40, 12:50-ish.

 4        Q.   Now, this camera is keyed up for 1:44:39.            And I'll direct

 5        your attention to the bottom right -- actually, the upper

 6        right, if I could.      You see the gentleman in the -- who's

 7        holding his arm out like this?

 8        A.   Is this the --

 9        Q.   Upper right.

10        A.   Do you mind putting your mouse on him.

11        Q.   Oh, sure.      Of course.   Thank you.

12        A.   Yes, I do.

13        Q.   That's actually my client in the back there, Ken Harrelson.

14        If you could follow him, what street is this security detail

15        crossing?

16        A.   So they're on First and Con.

17        Q.   You're good, by the way.       Because I have to look at the

18        captions.

19                And if you look down below, the camera in the lower

20        right, can you -- can you tell us what that camera is and where

21        it's facing?

22        A.   That is the -- from the top of the Capitol or somewhere --

23        you're facing the east plaza, and we're looking towards First

24        and East Capitol.      East plaza and the streets would be First

25        and East Capitol.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 54 of 181
                                                                               4047

 1        Q.   Do you see the two -- I guess they're skylights -- in the

 2        foreground?

 3        A.   I do.

 4        Q.   The skylight on the left, if you follow that out towards

 5        the east and were to draw a line between that and the long

 6        rectangle that's on the left -- there's two long rectangles.

 7        What are those two long rectangles?

 8        A.   Do you mind pointing with your mouse to make sure I'm

 9        looking at the right thing.

10        Q.   Sure.    Of course.   Right here.

11                     THE COURTROOM DEPUTY:      Do you want to --

12                     MR. GEYER:    Yes, I'd like to move that in as

13        Exhibit -- Defense Exhibit H-3, please, JC.           Thank you.

14                     MS. HUGHES:   No objection.

15                     THE COURT:    All right.

16                     MR. GEYER:    I'd also like to publish it to the jury.

17                     THE COURT:    H-3 will be admitted.

18                     (Defendant Harrelson Exhibit H-3 admitted into

19        evidence.)

20        A.   To answer your question, sir, those are stairwells that

21        lead down to the Capitol visitors' center.

22        BY MR. GEYER:

23        Q.   Okay.    Now, in front of those, you'll see right in here --

24        you see a difference between the number of people that are in

25        this rectangle that I'm drawing with my mouse and this
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 55 of 181
                                                                               4048

 1        rectangle that I'm drawing with my mouse?

 2        A.   I do, sir.

 3        Q.   And isn't it true that there were people who showed up,

 4        actually, early in the morning, hours before President Trump

 5        spoke at the Ellipse?

 6        A.   There were.

 7        Q.   Showed up with bullhorns, pamphleteering, and -- and

 8        waiting for the -- the subsequent events of the day; is that

 9        right?

10        A.   There was a crowd with -- with bullhorns, and they were

11        waiting early in the day.

12        Q.   Were they -- were they in an area of interest for the

13        Capitol Police?     Were you monitoring them in terms of whether

14        or not they might present a threat?

15        A.   We treated them like we do with all of our protest groups,

16        make sure they're staying outside of secure areas.

17        Q.   I'm going to continue with the video.

18                    (A video recording was played.)

19        BY MR. GEYER:

20        Q.   Now, my client and the Oath Keeper security detail has made

21        a right, hasn't it, and now we're catching it at one -- what

22        camera in the upper right?

23        A.   So we're still at the upper right, you said?

24        Q.   Yes.

25        A.   We're looking from the north barricade across to Delaware
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 56 of 181
                                                                               4049

 1        Avenue.

 2        Q.   And I was actually -- it's actually -- they have some

 3        distance to walk now, don't they, to actually come into the

 4        camera view?

 5        A.   So if it's from where you initially showed me, they would

 6        be at the bottom of the hill.       You're saying they're going to

 7        come across here?

 8        Q.   Walking into the foreground, yes.

 9        A.   So from the initial video you showed me, they're at First

10        and Con.    So they would have to go up the hill to come up --

11        they would have had to -- because they went off-footage there.

12        They would have to take a right off Constitution, go up the

13        hill, and then take a right where Del is towards the north

14        barricade to enter, if that's what you're saying.

15        Q.   Yes.

16                  Now, on the lower bottom right, at 09:07, it appears as

17        if the police are already having troubles with the provocateurs

18        and also some rally attendees.       Do you want to tell us about

19        that.

20        A.   There was a large number of -- crowd and not enough

21        officers out there to hold the crowd back.

22        Q.   The video on the lower left -- which is facing the Capitol;

23        correct?

24        A.   Correct, sir.

25        Q.   And it seems like -- there's just a lot more people stacked
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 57 of 181
                                                                                4050

 1        in the lower right than there are in the lower left.             Is that

 2        your perception as well?

 3        A.   It appears to be a bigger chunk of the crowd is on the

 4        right-hand side, from that footage.

 5        Q.   And, again, you're -- the battle is raging in the west

 6        right now, isn't it?

 7        A.   That is correct.

 8        Q.   Now, I see some -- in the upper left hand -- 09:02, I see

 9        some police activity, seem to be very well spread out, but they

10        seem to be -- I don't know.        They seem to be either -- be

11        concerned about something.

12        A.   Is that a question, sir?

13        Q.   It was an attempt at a question.

14        A.   Do you mind repeating it for me.

15        Q.   Sure.

16                 If you look at the individuals -- first of all, maybe

17        you can describe for anybody watching this how your police

18        officers are positioned in the upper left and in the lower

19        right.

20        A.   So in the upper left, you have them spread across the

21        East Front plaza.     On the right, you have some of the officers

22        closer to the fence because it appears that the crowd is

23        pushing against the fence.

24        Q.   I'm going to advance a little bit.         See if we can expedite

25        this.
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 58 of 181
                                                                                4051

 1                       (A video recording was played.)

 2        BY MR. GEYER:

 3        Q.     In the upper right, are you able to identify the personal

 4        security detail that I showed you in the original -- at the

 5        outset of my presentation?

 6        A.     I can't.

 7        Q.     Okay.   Are you able to identify Ken Harrelson in the back,

 8        above the person with the orange stocking cap walking past him

 9        now?

10        A.     I don't know who that person is that you just named.

11        Q.     Okay.

12                       (A video recording was played.)

13        BY MR. GEYER:

14        Q.     How -- how are your police configured in the lower right?

15        A.     The officers are still pressed against the -- the fence.

16        Q.     Are they experiencing pressure from the provocateurs?

17        A.     They are.

18                       (A video recording was played.)

19        BY MR. GEYER:

20        Q.     Are you able to compare the response of the police in the

21        lower right with the activity on the left and draw any

22        conclusions about where the provocateurs were clustered?

23        A.     This appears that the crowd on the right is pressing

24        against the fence; the crowd on the left is not.

25                       (A video recording was played.)
     Case 1:22-cr-00015-APM    Document 731    Filed 01/02/24   Page 59 of 181
                                                                                 4052

 1        BY MR. GEYER:

 2        Q.     I'm going to advance some more.        We're at 1:52:39, are we

 3        not?

 4                       (A video recording was played.)

 5        BY MR. GEYER:

 6        Q.     I'll direct your attention to the upper right screen,

 7        the two gentlemen with black shirts and -- with yellow

 8        lettering, at about the 3 o'clock position.             Can you see

 9        those?

10        A.     I do.   I do, sir.

11        Q.     And looking over to your left, there's a white circle.          Do

12        you see that?

13        A.     I do, sir.

14        Q.     Based on your knowledge of the cameras, does it seem like

15        the white circle is properly positioned over the -- the PSD

16        group for --

17                       MS. HUGHES:   Objection.

18                       THE COURT:    Sustained as it's framed.

19                       MS. HUGHES:   Can we get on the phone, Your Honor?

20                       THE COURT:    Sure.

21                       (Bench conference on the record.)

22                       MS. HUGHES:   Your Honor, we were not provided this

23        video in advance, and as it provides just a compilation of CCTV

24        footage, we have no objection.         But to the degree that it is

25        altered in any way with any kind of notations by defense, we
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 1        would at least -- the very least -- require viewing those

 2        before they're published and seeing whether any of those are

 3        appropriate for this witness.

 4                    MR. GEYER:    Your Honor, I've been very lenient and

 5        encouraged the government to put on whatever case it wants to

 6        put on.   I've not objected to anything they wanted to do,

 7        including -- up to and including today.              I think a white circle

 8        and a short zoom is not too much to ask.

 9                    THE COURT:    Look, if the witness can identify

10        locations -- and, you know, I don't know what -- if Mr. Geyer

11        is going to suggest that the white circle is where these people

12        are standing on the right, I mean, I don't know that there's

13        anything controversial about that.          He can either say they are

14        or not.

15                    MS. HUGHES:    No.     And the government -- it's not this

16        particular notation.      I wanted to just note that we have not

17        viewed the video.     So to the extent there are other notations

18        that are in this video, Mr. Geyer, we would ask -- the Court

19        ask Mr. Geyer whether or not there are any additional notations

20        in the video.

21                    THE COURT:    Mr. Geyer?

22                    MR. GEYER:    No, Your Honor, there aren't.

23                    THE COURT:    Just this white circle and that's all?

24                    MR. GEYER:    Yes.

25                    THE COURT:    Okay.
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 1                      MS. HUGHES:   No objection.    Thank you.

 2                      MR. GEYER:    Thank you.

 3                      (Proceedings held in open court.)

 4        BY MR. GEYER:

 5        Q.    So, Captain, does it seem to you that the two individuals

 6        at the 3 o'clock position and the 7205 camera -- does it seem

 7        logical to you that they would be somewhere in that white

 8        circle on the left?

 9        A.    I'll be honest with you, sir; because of the size of the

10        camera on the left, I cannot confirm that that's them on the

11        right.

12        Q.    Understood.

13                 How about just in terms of its placement?

14        A.    There could be a possibility, but, again, I can't confirm

15        it.   I can't see from the 902 to the 7205 to confirm that it is

16        them.

17        Q.    Understood.   Thank you.

18                      (A video recording was played.)

19        BY MR. GEYER:

20        Q.    I'm going to fast-forward to 1:54.        Looks like the police

21        officers in the lower right have stabilized the line, doesn't

22        it?

23        A.    It appears that the officers are actually pushed against

24        the fence at this point.

25        Q.    1:55.
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                                                                               4055

 1                     (A video recording was played.)

 2        BY MR. GEYER:

 3        Q.   1:56.

 4                     (A video recording was played.)

 5        BY MR. GEYER:

 6        Q.   We have a camera change in the upper left.           Now, where --

 7        where are these individuals coming from?

 8        A.   We're looking at the upper left, sir?

 9        Q.   Yes.

10        A.   They were walking up the north -- Northwest Drive.

11        Q.   And have you been able to track them on cameras as having

12        come through from the west?

13        A.   That would be the direction they're coming up, if you're

14        walking in that direction.

15        Q.   I'll direct your attention to the -- the purple bike racks

16        in the upper left.

17                     (A video recording was played.)

18        BY MR. GEYER:

19        Q.   Was any effort made to identify the individuals -- there's

20        perhaps five or six of them -- who were removing these bike

21        racks?

22        A.   I'm unsure, sir.

23        Q.   So the person carrying the bike rack at the 3 o'clock

24        position in the yellow hat is #LemonyKickIt?

25                     THE COURT:   Mr. --
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 1        BY MR. GEYER:

 2        Q.   Has he been identified?

 3                     THE COURT:   Mr. Geyer, next question.        Objection

 4        sustained.

 5                     MR. GEYER:   Thank you, Your Honor.

 6                     (A video recording was played.)

 7        BY MR. GEYER:

 8        Q.   Now, when the police officers in the upper left started

 9        walking backwards and turned around, can you see that some

10        people with impartial information might have thought they were

11        actually walking with the crowd?

12        A.   I'm -- I am not sure what those -- the crowd thought at

13        that moment, sir.

14                     (A video recording was played.)

15        BY MR. GEYER:

16        Q.   This is a different camera of the same scene that

17        Mr. Woodward showed you before, isn't it, in the upper left?

18        A.   I do not recall, sir, if it was or not.

19                     (A video recording was played.)

20        BY MR. GEYER:

21        Q.   What's happening in the -- at 0902 in the upper left, if

22        you can describe it?

23        A.   We have the crowd coming on now.        They're entering the east

24        plaza.

25                     (A video recording was played.)
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 1        A.   You have officers that are starting to respond at that

 2        point.

 3                    (A video recording was played.)

 4        BY MR. GEYER:

 5        Q.   And in the lower right, are the provocateurs increasing

 6        their activity?

 7        A.   You have the crowd in the lower right that are now starting

 8        to push against the bike rack.

 9        Q.   Your monitor is pretty small, but can you identify

10        Ken Harrelson right here?

11                    MS. HUGHES:    Objection.

12                    THE COURT:    Sustained -- I mean, overruled.

13        A.   I do not know who that is.

14        BY MR. GEYER:

15        Q.   Thank you.

16                    (A video recording was played.)

17        BY MR. GEYER:

18        Q.   In the upper left, are those protesters reaching almost

19        the -- the southern boundary of the Senate east steps?               Am I

20        properly describing it?

21        A.   They're starting to go up the Senate steps.

22                    (A video recording was played.)

23        BY MR. GEYER:

24        Q.   Now, are the -- are the bike racks along here down at this

25        point?
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 1        A.   I -- I can't tell from that footage.           If you press play, I

 2        might be able to.

 3                     (A video recording was played.)

 4        A.   I can't tell from the footage because it does appear that

 5        some of the crowd is still held back.

 6                     (A video recording was played.)

 7        BY MR. GEYER:

 8        Q.   Do you have any training in estimating the size of a crowd?

 9        A.   I do not, sir.    I can just say that it was -- it was one of

10        the biggest crowds I've ever seen on the U.S. Capitol complex,

11        particularly on the West Front.        It was -- I've worked

12        inaugurations, and it was as many people as I've seen in an

13        inauguration.

14                     (A video recording was played.)

15        BY MR. GEYER:

16        Q.   I think you testified that -- about the Ashli Babbitt

17        shooting at --

18                     MS. HUGHES:   Objection.

19                     THE COURT:    Let's hear the question first.

20        Overruled.

21        BY MR. GEYER:

22        Q.   -- at 1:44; is that correct?

23        A.   I believe the time said 14:44.        So that would be 2:44 p.m.

24        Q.   I stand corrected.     Thank you.     Thank you, Captain.

25                Do you recall earlier a false report of shots fired?
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 1        A.   I do.

 2        Q.   Do you recall about when that was?

 3        A.   I think -- I believe it was immediately preceding the 14:44

 4        call.

 5        Q.   Okay.   Captain, thank you very much for your service.

 6        Thank you for being here today, and thank you.

 7        A.   Yes, sir.

 8                     THE COURT:    Mr. Crisp.

 9                     MR. CRISP:    No cross, Your Honor.

10                     THE COURT:    All right.   Any redirect?

11                     MS. HUGHES:    Briefly, Your Honor.

12                                   REDIRECT EXAMINATION

13        BY MS. HUGHES:

14        Q.   Good afternoon, Captain Ortega.        Just a few more questions.

15                You were asked a question by Mr. Geyer about the false

16        reporting regarding the shooting.        Could you please explain the

17        sequence of these announcements.

18        A.   I recall hearing shots fired and then, I believe someone on

19        the radio, that's a negative, no shots fired.            And then almost

20        immediately there was another call for shots fired.             And then

21        it was confirmed at that point that there were shots fired.

22        Q.   And so the shots fired that we went through in the -- in

23        the sequence, that was the actual shots fired; is that your

24        understanding?

25        A.   That is my understanding, yes.
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 1        Q.   And so the false report would have been earlier than 2:44?

 2        A.   That is correct.

 3        Q.   Captain Ortega, could we please -- I want to briefly just

 4        go over two quick photos with you.

 5                     MS. HUGHES:    If we could please bring up, Ms. Rohde,

 6        22.P.7.

 7        BY MS. HUGHES:

 8        Q.   Captain Ortega, do you recognize where this is on the

 9        Capitol complex, roughly?

10        A.   I do.

11        Q.   Where on the Capitol complex is this photo?

12        A.   This would be looking towards the West Front.

13        Q.   And looking towards the West Front, how many perimeters

14        would you have had to cross to get to this position?

15        A.   Several.    You had the -- the -- the initial that was shown

16        on the video.       You had snow fencing.     You had police officers

17        at multiple different areas; just to get to this area.

18                     MS. HUGHES:    Can we please go to 22.P.6.

19        BY MS. HUGHES:

20        Q.   Now, Captain Ortega, you're not familiar with who these

21        individuals are; correct?

22        A.   I am not.

23        Q.   Does this appear to be consistent with the area on the

24        Capitol that we were viewing before?

25        A.   It does.
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 1        Q.   And, again, how many barriers would you have had to go

 2        through to get to this position?

 3        A.   Several.    Again, you would have to get through the initial

 4        outer perimeter.     You would have to get through the snow

 5        fencing and several officers that were in between to get to

 6        this area.

 7        Q.   And, finally, Mr. Ortega -- or Captain Ortega, rather, is

 8        there any permit you can get to riot inside the United States

 9        Capitol Building?

10        A.   There's not.

11        Q.   Is there any permit that allows you to enter through those

12        Rotunda doors that are closed to visitors at all times?

13        A.   There is not.

14                     MS. HUGHES:    No further questions.       Thank you.

15                     THE COURT:    All right.   Captain Ortega, thank you for

16        your time and your testimony, sir.         Thank you.     You may step

17        down.

18                     THE WITNESS:   Thank you, Your Honor.

19                     (Witness excused.)

20                     THE COURT:    All right.   So since we're in between

21        witnesses, why don't we take our afternoon break.             It's about

22        3 o'clock now.      We will resume at 3:15 and then go to the end

23        of the afternoon.     Thank you, everyone.

24                     (Proceedings held outside the presence of the jury.)

25                     MR. LINDER:    Your Honor, as you know, the next
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 1        witness that they're going to call is a co-defendant that's

 2        entered a plea.     And my impression is that Mr. Nestler is going

 3        to get into -- may offer the plea agreement and get extensively

 4        into the guidelines and different enhancements and reductions

 5        that can be gained or lost through that process.

 6                When I get the witness on cross, I would like to use for

 7        demonstrative purposes just the sentencing guidelines chart.

 8        It makes it easier.      I mean, we're going to be talking about

 9        the numbers with the jury.         And so I had offered it to

10        Mr. Nestler, and he objected.        So I just figured we'd take it

11        up at this point.

12                    THE COURT:    Well, I guess -- well, who are you

13        calling?

14                    MR. NESTLER:    The witness will be Jason Dolan, a

15        defendant who has already pled guilty and agreed to cooperate.

16        Our plea agreement we do intend to introduce into evidence.            We

17        do believe that the sentencing guidelines table should not be

18        admitted pursuant to Rule 403.        We believe that it is confusing

19        to the jury, and so it should not be allowed into evidence in

20        front of the jury.

21                    THE COURT:    Well, I -- the difference between whether

22        it's allowed into evidence versus it being a demonstrative --

23                    MR. LINDER:    Demonstrative is all --

24                    THE COURT:    -- that Mr. Linder can show what the

25        benefits are by having pled and cooperated and the different
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 1        levels of -- of exposure that -- and if you can do that in a

 2        way that makes sense, I don't think there's a problem with

 3        that.

 4                     MR. LINDER:    Yeah.   He's got them listed in the plea

 5        agreement.    I just want to have the -- they talked about

 6        Criminal History Category I in the plea agreement, and 5K1s,

 7        and different enhancements and reductions for acceptance.             And

 8        I think if we're going to be throwing out numbers, I think it

 9        would help the jury if I'm talking -- it's actually quicker.            I

10        could -- I guarantee he's been shown this chart by his lawyer.

11        If he hasn't, it would be malpractice.           And so I think being

12        able to go through that with him, it would be quicker and would

13        be easier for the jury to understand.

14                     THE COURT:    Okay.

15                     MR. NESTLER:   And our position is if the jury sees a

16        sentencing guideline chart, it is prejudicial and confusing to

17        the jury.    Whether it's admitted or not, showing this chart to

18        the jury tends to confuse the issues and is not necessary.

19                     THE COURT:    You know, I -- let's -- let me ask you

20        this:    How long do you expect to keep him on the stand today?

21                     MR. NESTLER:   Approximately an hour.

22                     THE COURT:    Okay.    So we actually might get to the

23        cross.   Let's just see how it plays out, and then I can decide.

24                 And, Mr. Linder, you may want to think about how you can

25        minimize precisely what you're going to show.             If you just want
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 1        to show the Category I column and whatever the exposure is and

 2        redact everything else, that may be a way to do it without

 3        causing the confusion.

 4                     MR. LINDER:    We might do that.         The -- the plea

 5        agreement gets into the fact that he thinks he's Criminal

 6        History Category I.       There's no guarantee.        He says he has no

 7        criminal history, but probation still has to make that

 8        determination.      So I think being able to just kind of explain

 9        some of those things to him with the jury, it makes sense to

10        kind of -- that's what his lawyer went through him with, I

11        guarantee.    And it goes to the state of mind --

12                     THE COURT:    Sure.   Look, all of that is true and --

13        and I just wondered how much he really is concerned.               I mean,

14        the guy either knows he has a criminal history or he doesn't.

15                     MR. LINDER:    Right.

16                     THE COURT:    So the likelihood he's been pushed over

17        in a Category II and III and that's a concern of his seems to

18        me to be relatively remote.        And so, you know, if you want to

19        show just the one column, Criminal History I, and -- and the

20        gradations and the guidelines that you think he's exposed to,

21        that may be a little bit -- avoid some of the concerns

22        Mr. Nestler has.

23                     MR. LINDER:    Yep.   I can do I.        I mean, I wouldn't

24        mind having I and II, just so it shows an example to the jury

25        if he did have an arrest, it would be here, but, yeah, we
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 1        could -- I don't mind cutting off --

 2                    THE COURT:    It's more complicated than that.           All

 3        right?   It's not just if you have an arrest.          It's not if you

 4        just have a conviction.      It's how many convictions you have,

 5        what the nature of the conviction is.          So that's a pretty

 6        complicated issue.

 7                    MR. LINDER:    As you know, having been a defense

 8        lawyer, we have extensive discussions with our clients about

 9        these --

10                    THE COURT:    No, I understand that.        But, again --

11                    MR. LINDER:    It goes into the mind of what -- where

12        they may be.

13                    THE COURT:    No, I know, but at the same time --

14                    MR. LINDER:    I'll keep it -- I'll keep it brief.

15                    THE COURT:    All right.    Let's at least redact it in

16        such a way that it takes off the top half that -- why don't you

17        work with Mr. Nestler on a redaction that would be appropriate,

18        if you're going to show it to him.         Okay?    And then if you

19        can't come to an agreement, I'll take a look at it.

20                    MR. LINDER:    Okay.

21                    MR. NESTLER:    Thank you, Your Honor.

22                    MR. FISCHER:    Your Honor, may I inquire of

23        Mr. Nestler?    Does the government intend on introducing the

24        plea agreement itself?

25                    MR. NESTLER:    Yes.
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 1                     MR. FISCHER:   Your Honor, the po- -- there's a

 2        reference to a polygraph on page 6 that I'd like redacted.            It

 3        says that the -- it says that the defendant -- if -- he would

 4        be required to take a polygraph by the government.             I'd like

 5        that part stricken out.

 6                     THE COURT:   Any objection to that?        Doesn't seem to

 7        me to be terribly material.

 8                     MR. NESTLER:   I don't know why.       I mean --

 9                     MR. FISCHER:   I don't want the jury to think this

10        person has been under a polygraph.         That's -- I -- I seriously

11        doubt he has, but I don't want them to think he's been

12        polygraphed.

13                     MR. NESTLER:   Isn't that fodder for

14        cross-examination?     I don't understand why we would redact a

15        portion of the plea agreement referencing the different

16        provisions that Mr. Dolan is subject to.

17                     THE COURT:   Yeah, what -- did he submit to a

18        polygraph?

19                     MR. NESTLER:   No.

20                     THE COURT:   All right.    So, you know, that -- I think

21        that will either come out on direct or you can cross-examine

22        him, and that would dispel any concerns about maybe he did,

23        maybe he didn't.     And, you know, if the concern is that the

24        fact of the polygraph in there suggests some veracity of his

25        testimony because he's been subject to one and, therefore, the
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 1        government wants to put him up here, you can easily dispel that

 2        by confirming he hasn't been subject to a polygraph.

 3                     MR. NESTLER:   The fact that he has agreed to submit

 4        to the polygraph, I think, is relevant, which is why it's part

 5        of the plea agreement.

 6                     THE COURT:    Sure.   Okay.   All right.      See everybody

 7        shortly.

 8                     (Recess taken.)

 9                     THE COURT:    Remain seated.    Thank you.

10                     MR. LINDER:    Judge, we've agreed that I'm going to

11        use the full exhibit just for the witness to see it, and then

12        when we publish to the jury it will be Column I, Range 1 to 29,

13        which is a high --

14                     MR. NESTLER:   Sorry, Mr. Linder.        We did not agree on

15        that.

16                     MR. LINDER:    He's acquiesced.

17                     MR. NESTLER:   No.    I agreed we could show the

18        witness --

19                     MR. LINDER:    I was going to show --

20                     THE COURT REPORTER:    Hold on.        I heard "we could show

21        the witness."

22                     MR. NESTLER:   Column I, Rows 1 through 29.

23                     MR. LINDER:    I wanted to show the jury.         That's --

24        that's what I was talking about.        I want the jury -- as we're

25        discussing it, I want them to be able to see what we're talking
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 1        about.

 2                    THE COURT:    If he wants to just show the jury

 3        Column I, 1 through 29, why is that a problem?

 4                    MR. NESTLER:    I didn't.     I said we're okay with

 5        Column I, Rows 1 through 29 for both the witness and the jury.

 6                    THE COURT:    Oh, all right.      I thought -- okay.      I

 7        mean, if --

 8                    MR. LINDER:    I was just going to have the witness

 9        say -- have you ever looked at a guideline chart; and have him

10        look at it and say okay.      And then when we show the jury, just

11        show them Column I.

12                    THE COURT:    Okay.    That's fine.

13                    MR. LINDER:    Okay.    Thank you.

14                    (Proceedings held in the presence of the jury.)

15                    THE COURT:    All right.     Please have a seat, everyone.

16        Welcome back.

17                 Mr. Nestler, your next witness.

18                    MR. NESTLER:    Thank you, Your Honor.

19                 The United States calls Jason Dolan.

20                    THE COURTROOM DEPUTY:       Before you have a seat, please

21        raise your right hand.

22                    (Oath administered.)

23                    THE WITNESS:    I do.

24                    THE COURTROOM DEPUTY:       Thank you.     Please have a

25        seat.    Please speak into the microphone.
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 1                     THE COURT:    Mr. Dolan, welcome.      I'll ask you to

 2        remove your mask.     If you'd like to wear one, we'll give you a

 3        clear one.

 4                 Thank you, sir.

 5                                   DIRECT EXAMINATION

 6        BY MR. NESTLER:

 7        Q.   Good afternoon, sir.

 8        A.   Good afternoon.

 9        Q.   You can move the microphone a little bit closer to your

10        face if you don't want to have to bend down to talk into it.

11        You can sit back, if you want.

12                 Could you please state and spell your name for us.

13        A.   First name is Jason, J-a-s-o-n.        Last name is Dolan,

14        D-o-l-a-n.

15        Q.   Mr. Dolan, how old are you?

16        A.   I'm 46.

17        Q.   And what city and state do you live in?

18        A.   I currently live in Wellington, Florida.

19        Q.   Did you serve any time in the United States military?

20        A.   I did; yes, sir.

21        Q.   Which branch?

22        A.   I served close to 20 years in the United States Marine

23        Corps.

24        Q.   And what was your rank in the United States Marine Corps?

25        A.   I retired as a staff sergeant.
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 1        Q.   Could you please explain to us what a staff sergeant is.

 2        A.   Staff sergeant -- I guess the equivalent civilian would be,

 3        like, middle management.      I guess that's as close as you can

 4        come up to it.      I was in charge of people, but there are people

 5        in charge of me as well.

 6        Q.   Approximately how many people were you in charge of?

 7        A.   It depended on the job.        At any time, between a couple,

 8        four, five, to over a hundred.

 9        Q.   And were you enlisted or an officer in the Marine Corps?

10        A.   I was enlisted.

11        Q.   Have you deployed overseas?

12        A.   Yes, sir.

13        Q.   Approximately how many times?

14        A.   Five, I believe.

15        Q.   Did you have an occupational specialty in the Marine Corps?

16        A.   My job was what they call 0369 infantry platoon sergeant.

17        Q.   So 0369 infantry platoon sergeant; is that right?

18        A.   Yes, sir.

19        Q.   Could you please explain to us what that is.

20        A.   It's -- you're -- you're the enlisted advisor to the

21        lieutenant, who would be the officer of your platoon.

22        Q.   Why did you leave your time in the military?

23        A.   I was at just over 19 years, and my MOS was basically

24        closed down for promotion.         So the military at the time offered

25        what's called TERA, Temporary Early Retirement Authority.             So I
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 1        ended up retiring just shy of 20 years, at 19 years and a

 2        month.

 3        Q.   You used a term called MOS; is that right?

 4        A.   Yes, sir.

 5        Q.   What is that?

 6        A.   Military occupational specialty.

 7        Q.   You mean you had gotten as high as you could go in the

 8        military without getting promoted?

 9        A.   Within my job, yes.     I wasn't at the top of the enlisted

10        ranks, but from my time in service, my time in grade, I was as

11        far as I could go.

12        Q.   When you retired from the military and you became a

13        civilian again, did you work?

14        A.   Yes, I did.

15        Q.   What kind of work did you do?

16        A.   I worked as a security guard at a hotel, and then I moved

17        over and became shipping and receiving for the same hotel.

18        Q.   From your time in the military, did you sustain any

19        injuries?

20        A.   Nothing direct, but just long-term -- long-term issues.

21        Q.   What were some of those long-term issues?

22        A.   I had gut issues and a really bad hip and feet issues.          I

23        had five different surgeries on my feet and probably five, six

24        different procedures on my hip, culminating in a hip

25        replacement.
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 1        Q.   What year did you have your hip replacement?

 2        A.   I think it was -- I think it was 2018 or '19.            I'm not sure

 3        of the exact year.     2018, 2019.

 4        Q.   Let's talk about the year of 2020.         Specifically, the

 5        second part of the year 2020.       How was your hip doing at that

 6        point?

 7        A.   The surgery didn't quite go as hoped.          So there was

 8        always -- there still is today a lot of pain in my hip.

 9        Q.   Were you working at that time?

10        A.   No, I -- I quit my job before the surgery.

11        Q.   And had you worked after you had quit your job at the

12        hotel?

13        A.   No.

14        Q.   What were you spending most of your time doing?

15        A.   I spent a lot of time in my garage in the evenings drinking

16        and -- and trying to kind of kill the pain with booze.

17        Q.   Approximately, how much were you drinking each night?

18        A.   Anywhere from a six-pack of beer to a half a bottle of

19        vodka.

20        Q.   Were you with other people, or were you alone?

21        A.   Alone.

22        Q.   What did you have in your garage to entertain you?

23        A.   Just mainly my phone; just going through on my phone

24        looking at news articles, watching videos, things of that

25        nature.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 80 of 181
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 1        Q.   What kinds of news articles and videos were you watching on

 2        your phone when you were in your garage?

 3        A.   I was watching a lot of videos about the election, mainly

 4        kind of focused on that.

 5        Q.   Why were you so focused on the election?

 6        A.   At the time I felt like the election had been stolen.

 7        It -- I was looking for, you know, different -- whether news

 8        articles or videos or information, I guess, that kind of

 9        reinforced that idea in my mind that the election had been

10        stolen.

11        Q.   Had you closely followed the 2020 presidential election

12        before it occurred?

13        A.   I was following it as it led up to it, yes.

14        Q.   And which candidate did you support in the election?

15        A.   I supported President Trump.

16        Q.   Shortly after the election happened on election day, did

17        you notice news media projecting that President Trump would be

18        losing the election?

19        A.   Watching the news that night, I was watching Fox News

20        initially.    It -- at the time it seemed extremely odd that the

21        news wasn't calling different states like Florida or Arizona

22        where it seemed like he won.       So, yeah, at the -- at the time

23        as -- as the different, I guess, results started rolling in, it

24        just didn't seem right in my head.

25        Q.   And eventually did you see news media projected that
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 81 of 181
                                                                                4074

 1        President Trump would lose?

 2        A.   Yes.

 3        Q.   How did you feel about that?

 4        A.   I was pretty pissed.      You know, I -- I'd see all the

 5        different events on TV, all the different rallies, watching all

 6        the different news, all the different projections that he was

 7        going to win.       It didn't seem possible that he was going to

 8        lose.

 9        Q.   What did you personally think you ought to do about the

10        fact that President Trump was projected to lose the election?

11                    MS. HALLER:     Objection to form.       Leading.

12                    THE COURT:     It's overruled.

13        BY MR. NESTLER:

14        Q.   You want me to repeat?

15        A.   Please.

16        Q.   No problem.

17                What did you think personally that you needed to do

18        given that you thought President Trump was going to lose the

19        election?

20        A.   I -- on that day, I hadn't -- I hadn't kind of completed

21        that thought process yet.       I knew I was angry.        I guess -- I

22        knew I was angry.      I hadn't completed -- on the day that he

23        lost the election -- any type of thought process as far as what

24        I can do, you know, other than just start venting.

25        Q.   Did you think that you as one person could do anything?
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 82 of 181
                                                                                   4075

 1        A.   No.

 2        Q.   Why not?

 3        A.   Because I'm just one person.

 4        Q.   Over the next two months, from early November going through

 5        December and then into early January of 2021, did your beliefs

 6        about what you could accomplish change?

 7        A.   Probably slowly, but not -- not at that point.             Like I

 8        hadn't gone there yet.

 9        Q.   But they did change over the next two months?

10        A.   Yes.

11        Q.   How did your beliefs change over that two-month period from

12        early November to early January?

13        A.   I was looking for some -- I guess I was looking for -- I --

14        I didn't know I was looking for a group, but I was looking for

15        some way to, I guess, vent.         I had a friend that told me about

16        Oath Keepers.       I ended up contacting through their online web

17        page the local Florida branch and joined with the Oath Keepers.

18        Q.   And so why did you choose the Oath Keepers to join up with?

19        A.   I -- I liked the idea that the Oath Keepers advertised or

20        primarily was made up of what I thought was mostly military and

21        law enforcement.      I had a military background, I had family in

22        law enforcement, and I thought that's what I would get along

23        with the most.

24        Q.   When you joined up with the Oath Keepers, what was your

25        sense about which candidate in the presidential election they
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 83 of 181
                                                                                   4076

 1        supported?

 2        A.   I would say, as a whole, most likely President Trump.

 3        Q.   And when you joined up with the Oath Keepers, did you have

 4        any sense about whether people in the Oath Keepers were happy

 5        about the election results or not happy about the election

 6        results?

 7        A.   I would say, generally, based off of different texts,

 8        pretty unhappy.

 9        Q.   When you joined with the Oath Keepers, do you know who was

10        in charge of the organization nationally?

11        A.   I knew the name, yes.     Stewart Rhodes.

12        Q.   And then what about in Florida where you're from?               Did --

13        was there a person in charge of the Florida chapter of the

14        Oath Keepers?

15        A.   Yeah, I learned that the -- at the time when I joined, it

16        was a gentleman by the name of Mike Adams, I believe.

17        Q.   Did you ever meet Mike Adams in person?

18        A.   No.

19        Q.   After you joined and Mike Adams was in charge, did there

20        come a time when Mike Adams stopped being in charge?

21        A.   At some point.    I don't know the exact date.         But, yes, it

22        was soon after I joined.

23        Q.   And who became in charge then?

24        A.   Kelly Meggs.

25        Q.   And at the time, what did you understand Kelly Meggs's name
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 84 of 181
                                                                               4077

 1        within the Oath Keepers organization to be?

 2        A.   I believe it was OK Gator 1 or Gator 1 or something along

 3        those lines.

 4        Q.   When you first joined the organization, had you ever met

 5        Kelly Meggs?

 6        A.   No.

 7        Q.   Did you come to meet him at some point afterwards?

 8        A.   Yes.

 9        Q.   If you saw him again, would you recognize him?

10        A.   Yes.

11        Q.   Could you please look around the courtroom and let us know

12        if you see him sitting in the courtroom.

13        A.   He's sitting over at the table, with the gray suit.

14        Q.   Could you describe --

15                    MR. NESTLER:    Well, let the record reflect the

16        in-court identification of Defendant Meggs.

17                    THE COURT:    Any objection?

18                    MR. WOODWARD:    No objection.

19                    THE COURT:    All right.    In-court identification of

20        Mr. Meggs will be reflected on the record.

21        BY MR. NESTLER:

22        Q.   During your time with the Oath Keepers, was there anybody

23        else above you in the hierarchy between you and Defendant

24        Meggs?

25        A.   So I -- I was pretty new so I don't know all of the
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 85 of 181
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 1        breakdowns and the different groups, but there were different

 2        groups involved.     The group that I -- I came to understand that

 3        if I was going to go further within the Oath Keepers was what

 4        they called the Green Team, which I believe was headed up by

 5        Kenny Harrelson.

 6        Q.     And did you come to meet Kenny Harrelson at some point?

 7        A.     At some point, yes.

 8        Q.     And if you saw Kenny Harrelson again, would you recognize

 9        him?

10        A.     Yes.

11        Q.     Could you please look around the courtroom and tell us if

12        he is seated in the courtroom today.

13        A.     He's seating next to -- yes, right there, sitting next to

14        Kelly, with the dark suit.

15                      MR. NESTLER:   Let the record reflect, please, an

16        in-court identification of Defendant Harrelson.

17                      THE COURT:   Mr. Geyer, any objection?

18                      MR. GEYER:   No objection, Your Honor.

19                      THE COURT:   All right.   The record will reflect an

20        in-court identification of Mr. Harrelson.

21        BY MR. NESTLER:

22        Q.     How did you generally communicate within the Florida

23        Oath Keepers organization?

24        A.     I was asked to download an application called Signal, and

25        that's where the primary communication went.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 86 of 181
                                                                               4079

 1        Q.     Had you used Signal prior to this?

 2        A.     No.

 3        Q.     Did you download Signal?

 4        A.     Yes, I downloaded it, and that's how I communicated.

 5        Q.     And on Signal, did you pick a certain name to go by?

 6        A.     Not initially, but it was suggested I come up with a call

 7        sign.    So, yes, I used a callout sign called Turmoil.

 8        Q.     And do you recall who suggested you come up with a call

 9        sign to go by?

10        A.     Not off the top of my head, no.

11        Q.     In addition to Signal, were you able to also have audio

12        calls with other members of the Florida Oath Keepers?

13        A.     Yeah.   Usually every Friday -- I think it was Friday

14        evenings, we did kind of a -- or -- I don't know the

15        application.     I was able to dial it on my phone.         It was like a

16        group call.

17        Q.     Was it called GoToMeeting?

18        A.     Yeah, that's familiar, GoToMeeting.

19        Q.     Now, going into December of 2020, approximately how many

20        Signal chats were you part of in connection with the

21        Oath Keepers organization?

22        A.     I believe it -- in December, I -- there was the Florida

23        one.    There might have been two or three others, but some would

24        get started and then ended.        And so, you know, I think at any

25        given time I was on probably two or three.
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24    Page 87 of 181
                                                                                    4080

 1        Q.   And how did you go about using Signal?

 2        A.   Basically, it's like any text.         You pick up the phone, text

 3        comes in, but it's a big group text.          So if there's 30 people

 4        in the group, you can see texts from 30 different people if

 5        they sent texts or 20 or 10 or whoever.

 6        Q.   How many hours per day were you on Signal?

 7        A.   I was usually on in the evenings when I was in the garage.

 8        I would pick up my phone, watch it in between videos or, you

 9        know -- you know, if I saw a particularly interesting video,

10        send it out and -- so, you know, for probably a few hours in

11        the evenings.       And then sometimes during the day I would look

12        at it.

13        Q.   So a few hours, basically, every evening?

14        A.   Yes.

15        Q.   Were you on for sometimes longer than a few hours?

16        A.   Yes.

17        Q.   How did you feel when you were on Signal communicating with

18        other members of the Oath Keepers organization?

19        A.   It was -- I actually -- I liked it.             You know, I didn't

20        feel like I was alone.       I don't have a lot of friends.            It's

21        just me, my wife, and my daughter.          They're not really into

22        politics at all.      And it was -- it -- it felt good to know that

23        there are other people out there, I guess, that felt the same

24        way I did, as far as, you know -- I viewed it as patriotic for

25        our country, same ideas as far as our country is concerned.
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 88 of 181
                                                                                   4081

 1                And then with the election, same ideas about, you know,

 2        the election having been stolen -- or at least thinking that it

 3        had been stolen.       So it was -- it was good to know that there

 4        was another group of people out there that kind of thought the

 5        same way I did.

 6        Q.   You indicated earlier that Stewart Rhodes was the head of

 7        the organization nationally; is that right?

 8        A.   That's my understanding; he was the founder of the

 9        organization, yes.

10        Q.   Did he ever make any appearances in your Florida

11        Oath Keepers chats?

12        A.   He popped up in there from time to time.

13        Q.   How did that make you feel when you saw Stewart Rhodes pop

14        up and start chatting?

15        A.   Again, I don't -- I don't know how large -- and I probably

16        still don't today -- how large Oath Keepers was.             I don't know

17        if there's thousands of people, if there are hundreds.                I know

18        for our Florida group that I was on, I would probably see about

19        24, 25 people.       So it didn't seem like a huge organization to

20        me on -- in the Florida area.        So the idea -- if it was a

21        rather large organization, I guess the idea that he would take

22        the time and come in and respond to individuals within --

23        within Florida, it felt pretty good.

24        Q.   I'm going to pull up on the screen just for you, Mr. Dolan,

25        Exhibit 5308.       Have you seen a portion of the OKFL Hangout
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 89 of 181
                                                                                  4082

 1        Signal chat thread before?

 2        A.   Yes.

 3        Q.   And have you seen these messages here I'm showing you on

 4        the screen?

 5        A.   Yes.

 6                     MR. NESTLER:    Government moves to admit into evidence

 7        Exhibit 5308.

 8                     MR. WOODWARD:   Court's indulgence.        No objection.

 9                     THE COURT:   5308 will be admitted.

10                     (Government Exhibit 5308 admitted into evidence.)

11        BY MR. NESTLER:

12        Q.   Now, Mr. Dolan, this first message here is from

13        December 6th of 2020; is that right?

14        A.   That's what it says.

15        Q.   And 9:19 p.m., would be around the times you were in your

16        garage drinking and being on Signal?

17        A.   Yes.

18        Q.   Now, at the time here, December 6th of 2020, do you know if

19        you had met anybody else in the organization live yet?

20        A.   I don't know the exact date.       The first time I met anybody

21        was for an event in Florida down in Miami.           So I don't recall

22        the exact date of that.      So I don't know if this was just

23        before or just after that date.

24        Q.   Let's go forward through the slides.           I'll ask you a few

25        questions.    I'll read the people who are not you.           Okay?
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                                                                               4083

 1        A.   Okay.

 2        Q.   So here at 9:19 p.m. someone named DeStokes -- and by the

 3        way, do you know who DeStokes is?

 4        A.   Just by the name, I -- no.

 5        Q.   Not by his true name?

 6        A.   No.

 7        Q.   DeStokes says, "If they sell out there will be no

 8        protection to the constitution other than the citizens

 9        themselves."

10                   And then OK Gator 1 responds.     Remind us, who is OK

11        Gator 1?

12        A.   I believe that was Kelly Meggs.

13        Q.   And Kelly Meggs says, "That would be a very very bad thing.

14        There would have to be repercussions."          Do you see that?

15        A.   Yes.

16                      MR. NESTLER:   You can go to the next, Ms. Rohde.

17        BY MR. NESTLER:

18        Q.   Shortly afterwards you post at 10:09 p.m.           Do you see that?

19        A.   I do.

20        Q.   Can you please read us what you wrote.

21        A.   I wrote, "Everyone has different circumstances, I've been

22        prepping my wife & daughter for the possibility of heading

23        overseas for the last couple months.         We have that option but

24        very few people do.     I'm waiting on all legal remedies (from

25        legitimate to illegitimate) courts to be solved."
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 91 of 181
                                                                               4084

 1        Q.   Can we continue, please.

 2        A.   "I have Christmas plans with family but come the new year

 3        (for me anyway) I have to be mentally prepared for however far

 4        I'm willing to go to stand for America, for the Constitution,

 5        for the President & for the survival of our ideals."

 6        Q.   What were you talking about here, Mr. Dolan?

 7        A.   It started to -- talking about -- for me, Congress and the

 8        courts trying, you know -- going through the process of looking

 9        at the -- what I thought were irregularities within the

10        election.     It didn't seem like that was really happening.         So I

11        was trying to -- trying to figure out, I guess, in my mind,

12        what other steps could be taken.        If -- if the courts weren't

13        going to act, if Congress wasn't going to act, if nobody else

14        was going to act, what could I do.

15        Q.   So you're basically asking what you could do?

16        A.   Yes.

17        Q.   And how far -- you wrote here, how far you're willing to go

18        to stand for America, for the Constitution, and for the

19        President?

20        A.   Correct.

21                      MR. NESTLER:   We can go to the next slide, please.

22        BY MR. NESTLER:

23        Q.   And then Kelly Meggs writes next; is that correct?

24        A.   Right.

25        Q.   And he wrote, "We have all evaluated our commitment and if
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24    Page 92 of 181
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 1        yours is to stand with this great lady of Liberty.              Then we

 2        will all be standing with you!       We are here for no other

 3        reason.    None of us!   We are . . . here to make sure our

 4        governments follow the constitution of the United States of

 5        America."

 6                  We can continue.   "They don't . . . bend them they twist

 7        them.   But we can't let them break them!           It's not our god

 8        given right, it's our god given responsibility."             Do you see

 9        that?

10        A.   Yes, I do.

11                     MR. NESTLER:    If we can go to the next slide.

12        BY MR. NESTLER:

13        Q.   And then someone named Ahab or Faith posts at 10:44 p.m.

14        Do you know who Ahab is?

15        A.   Only by name.    I may have met him, but I wouldn't be able

16        to pick him out of a lineup.

17        Q.   Ahab writes, "That's a question most intelligent people

18        will have asked [themselves] I imagine.             I have the opportunity

19        to take my family and bolt.        I agree with you completely, the

20        question you posed should be the one that's right for you and

21        your family.    For me, my heart is in the United States where I

22        want to freely take my child to a national park or to a movie

23        or take her fishing.     I want to do that here.          I've also

24        developed a bond with brothers and a sister here that have had

25        an impact on that decision.        I gotta stay.      You have the chance
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 93 of 181
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 1        to enjoy your family in safety, that's every mans decision.

 2        You're not alone."

 3                    MR. NESTLER:    We can go to the next slide.

 4        BY MR. NESTLER:

 5        Q.   What do you write then at 11:07 p.m., Mr. Dolan?

 6        A.   I wrote, "For most of my life I've been on the front lines.

 7        I shouldn't be alive today.        I am here by the grace of God and

 8        for no other reason.     After I retired I had many opportunities

 9        to join multiple NGOs [or] federal agencies.           I declined (even

10        though I wanted to) because my wife was done with my

11        deployments."

12                    MR. NESTLER:    We can continue to the next slide,

13        please.

14        A.   "[Now] I'm asking her to put up with it again but this time

15        there is no coming back, no pay, [no] awards, no homecomings,

16        and if I'm lucky, I get a prison sentence, tagged with treason,

17        or a bullet from the very people I would protect.             Yet I swore

18        to defend this country against all enemies foreign & domestic.

19        I think my biggest trouble is trying to convince myself to say

20        good bye . . ."

21                    MR. NESTLER:    Next slide.

22        A.   ". . . to my family, after all they had to endure, with the

23        likelihood of never seeing them again."

24                    MR. NESTLER:    If we can go back one slide, Ms. Rohde,

25        please, to the middle of this posting made by Mr. Dolan.
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 94 of 181
                                                                               4087

 1        BY MR. NESTLER:

 2        Q.    You wrote here, "If I'm lucky I get a prison sentence,

 3        tagged with treason, or a bullet from the very people I would

 4        protect."    Do you see that?

 5        A.    Yes, I do.

 6        Q.    Why'd you write those words?

 7        A.    Because I knew if I was going to be, I guess, from my

 8        perspective, standing up against an incoming administration

 9        that I didn't see as legitimate, it would be treasonist

10        fighting against as what I saw as an illegitimate form of

11        government.    So I was trying to mentally prepare myself for

12        that eventuality in trying to -- I guess get into my mind that

13        I know we would be viewed -- or I would be viewed as, you know,

14        an enemy to my country, even though I viewed myself as fighting

15        for my country.

16                    MR. NESTLER:    If we can continue forward to the next

17        slide, please.

18        BY MR. NESTLER:

19        Q.    And then how did you continue at 11:11 p.m., Mr. Dolan?

20        A.    It said, "Sorry for the rant.      Things are getting closer to

21        the point of no return.      I cant help thinking about my

22        decisions in the coming days.       I may be [a] dumb grunt but I'm

23        not stupid."

24        Q.    So, first of all, can you just explain to us what a grunt

25        is?
     Case 1:22-cr-00015-APM    Document 731   Filed 01/02/24   Page 95 of 181
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 1        A.    It's a slang term for infantrymen.

 2        Q.    And when you said "things are getting closer to the point

 3        of no return.       I can't help thinking about my decisions in the

 4        coming days," what are you referring to there?

 5        A.    It goes back to the same thing.        It looked -- or felt to me

 6        as if all the legal avenues that I saw at the time were being

 7        stopped or blocked or -- or just not happening.             You know,

 8        mainly, you were -- we were -- I was looking at the courts in

 9        different states, how cases either were being thrown out or --

10        or -- or not being brought up, and it -- it felt like my

11        government was being taken away.

12                 And so I -- I think I was trying to with my -- thinking

13        about my decisions in the coming days, trying to just mentally

14        prepare myself if -- if things kept going the way they were

15        going, I was trying to mentally prepare myself, I guess, if

16        I -- if I felt -- or if the need arose that we actually had to

17        fight against, you know, what I saw as an illegitimate

18        government, then that's what I was trying to prepare myself to

19        do.

20        Q.    Are you using the word fight rhetorically, or are you using

21        the word fight literally?

22        A.    I meant it literally.     I mean, I may have been ranting, but

23        that's why I said I've got to -- I've got to think about my

24        decisions in the coming days.        What will I be willing to do?

25        Is this all just going to be talk, or am I willing to back up
     Case 1:22-cr-00015-APM   Document 731   Filed 01/02/24   Page 96 of 181
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 1        my words with actions?

 2                      MR. NESTLER:   And if we could go forward, please.

 3        BY MR. NESTLER:

 4        Q.    You see a few minutes later at 11:14, Ahab writes, "I'm

 5        with you man . . . I'm glad you put that out there.             It helped

 6        me a lot to know hear what you said."          Do you see that?

 7        A.    Yes.

 8                      MR. NESTLER:   If we can go to the next slide.

 9        BY MR. NESTLER:

10        Q.    Five minutes later, OK Gator 1, Defendant Meggs, writes,

11        "Dude, stand ready but focus on that family.           Our battle

12        doesn't start with us.       Our battle ends with us.       Not just OK

13        but all of us.      The thousands of Patriots in your town you

14        don't even know exist.       We have to stop acting like it's just

15        us.   It's not everyone but there's going to be a lot.               If it

16        ever happens we have to make sure the ones that stand up know

17        what they are doing!!!       That's our mission!      Your fear needs to

18        be your motivation!      We have more time than you think but not

19        enough!      We need to get this done!     Teach your neighbors, teach

20        your friends, teach anyone that will let you teach them."

21                      MR. NESTLER:   Go to the next slide, please.

22        BY MR. NESTLER:

23        Q.    "Get them ready.    100 guys go to prison, 1000 guys get in a

24        battle, 10,000 guys get in a war.        72,000,000. is a massive

25        patriotic movement.      We won't go alone!!        Let's Prepare those
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 1        going with us!"

 2                 Do you see that phrase that Mr. Meggs wrote, "100 guys

 3        go to prison, 1000 guys get in a battle [and] 10,000 guys get

 4        in a war"?

 5        A.   Yes, I do.

 6        Q.   What does that mean to you, Mr. Dolan?

 7        A.   If -- if there was going to be a fight against, you know,

 8        again, what I saw as an illegitimate form of government, you

 9        had to have as many people as possible to do it because if

10        you're doing it by yourself or if it's just a handful or a

11        couple people, you're -- you're not going to be able to get

12        anything like that done.

13        Q.   What would happen if only a few people or a hundred people

14        tried?

15        A.   You'd -- you'd be arrested.       You'd be tossed in prison.

16        You would be sitting in a courtroom.

17        Q.   And what about if there were 10,000?

18        A.   Ten thousand -- 10,000 guys get you a war.           You have an --

19        you have an army.     If you had 10,000 people fighting, it

20        would -- you would have a much better chance of success.

21        Q.   What did reading this kind of message in early December of

22        2020 mean to you about what you thought you could accomplish

23        yourself as a -- as one person?

24        A.   As one person, I -- you know, it's not something that you

25        can -- you can do by yourself.       You need a -- you need a group.
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 1        You need a lot of people.

 2        Q.     Reading these messages, what was your sense about whether

 3        you had other people who were willing to fight alongside of

 4        you?

 5        A.     Well, I -- it felt like within the group I was with, like I

 6        said, I joined the group of what I thought were people who

 7        thought like me, that there was a core group that would be

 8        willing to fight.

 9                     MR. NESTLER:   Could we go to the next slide, please,

10        Ms. Rohde.

11        BY MR. NESTLER:

12        Q.     You see that OK Gator 1 continues at 11:26 p.m.            "They have

13        to be able to provide and survive for their families."

14                  Then the next slide.     "They have to provide defense for

15        their families."

16                  Then the next slide.     "They have to be able to provide

17        medical care to their families."

18                  And the next slide.      "Theirs so much we say that doesn't

19        sound sexy and good.     But what's more valiant than

20        helping . . . save the lives in your community."

21                     MR. NESTLER:   We can go to the next slide.

22        BY MR. NESTLER:

23        Q.     Now at 11:28 p.m., what do you say?

24        A.     I said, "I'm not afraid.     I've spoken to neighbors.          I look

25        at the numbers, I base them on history.              I opine that there
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 1        were roughly 80 - 85 million Trump supporters (Constitution

 2        supporters).    In my wildest dreams I would hope that 10% are

 3        willing to stand against tyranny" -- that would be 8 and a half

 4        million people -- "but in reality its probably closer to .5%

 5        percent or .3%."

 6                    MR. NESTLER:    Can you go to the next slide, please.

 7        A.   "That means at .3% you have 255,000 . . .           Yes, its a army.

 8        No, its not consolidated."

 9                    MR. NESTLER:    If we can go back one, Ms. Rohde, to

10        the beginning of the message.

11        BY MR. NESTLER:

12        Q.   What did you mean here when you talked about people who are

13        willing to stand against tyranny?

14        A.   I was -- thank you.

15                I was thinking of it from a history perspective.

16        Normally, you know, I guess what happens at the start of some

17        type of movement, there's very, very few people who are willing

18        to -- to put themselves out there because it's dangerous.            To

19        fight back what they see is a -- a tyrannical government

20        because that tyrannical government is going to be able to crush

21        you, which is why I started thinking about numbers.

22                You know, if you had -- if you had 10,000 or 1 percent

23        of, you know -- there were 80 million Trump supporters or

24        80 million what I thought of as people who supported the

25        Constitution -- then you start getting larger numbers, and then
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 1     things that you didn't think were possible become possible.

 2     Q.   If we can go forward now to the next slide and then one

 3     more.   So Gator 1 at 11:30, Kelly Meggs responds, "Could it be

 4     more, we all know it could be.       . . . our job is #1 prepare

 5     your home.    Prepare your neighborhood.           Prepare your community.

 6     Prepare your city.     Prepare your state.         Then and only then can

 7     we prepare to defend our country."

 8                  MR. NESTLER:   If we can go to the next slide.

 9     BY MR. NESTLER:

10     Q.   And he says, "We have to get [m]ore on board.             Our job!"

11     Do you see that at 11:30 p.m.?

12     A.   Yes.

13     Q.   What did that mean to you that he was saying you had to get

14     more on board?

15     A.   Just talk to as many people as possible.            See if you can

16     get people to join Oath Keepers.        But, yeah, you need -- again,

17     I don't know how many people were in Oath Keepers overall, but

18     even if you have a group that has -- I don't know -- a thousand

19     people, 5,000 people, you -- that's -- that's -- you're not

20     going to be able to stand up, I guess, against a -- a

21     consolidated federal government.

22             And that's what I was talking with the numbers before.

23     It wasn't consolidated.     You may have, you know, 200,000 people

24     out there, you know, who -- who would be willing to fight back,

25     but unless you can communicate and talk to every one of them,
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 1     you'll never be able to organize anything to get done.

 2                 MR. NESTLER:    If we can go to the next slide, please.

 3     BY MR. NESTLER:

 4     Q.   What do you say at 11:34 p.m.?

 5     A.   "I agree.     I just have to prepare myself first.           Most of my

 6     neighbors (I hate to say it) don't give a shit.              A lot of

 7     Marines I've spoken with wont do anything unless it lands on

 8     their doorstep.     We are a vanguard...THATS what I have to

 9     reconcile in my mind."

10                 MR. NESTLER:    Next slide, please.

11     A.   "Being the first is never good.         It's needed, but never

12     good."

13                 MR. NESTLER:    If we can go back to the beginning of

14     the message.

15     BY MR. NESTLER:

16     Q.   What you did mean when you said that you were -- you said,

17     "we are a vanguard"?

18     A.   I was speaking to the Oath Keepers.            Just from the messages

19     that were coming back to me, it seemed like, if I was willing

20     to fight, it seemed like they would be willing to fight as

21     well.    And, you know, kind of like I said a few minutes ago,

22     it -- it's a relatively small group of people, and that small

23     group of people usually doesn't do too well, historically

24     speaking, against, you know, fighting back against any type of

25     centralized government.      They usually get crushed.
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 1                  MR. NESTLER:   If we can go to the next slide and then

 2     the final slide.

 3     BY MR. NESTLER:

 4     Q.   Do you see someone named Gator 242 wrote?

 5     A.   Yes.

 6     Q.   Do you know who Gator 242 is?

 7     A.   No.

 8     Q.   What did Gator 242 write?

 9     A.   "Inspiring gator."

10     Q.   And do you know who he was referring to?

11     A.   I'm assuming -- I don't want to put anything in his mouth.

12     So I'm assuming Kelly, but -- but I don't know, unless he was

13     referring to what I was saying, like -- because we were the

14     Florida chapter, and most of the people had gator or something

15     in their call sign.     So I -- I'm not a hundred percent sure.

16     Q.   When you were participating in these Signal chats, were you

17     ever inspired?

18     A.   Yes.

19                  MR. NESTLER:   We can take this down, please,

20     Ms. Rohde.

21     BY MR. NESTLER:

22     Q.   This message we just read, this message chain from

23     December 6th, did you hear similar talk on other Signal threads

24     at other times?

25     A.   Yes.
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 1     Q.   And what about on those GoToMeeting calls you had

 2     throughout the month of December with other members of the

 3     Florida Oath Keepers?

 4     A.   Yes.

 5     Q.   What was it, as the month of December went on, that you

 6     were willing to do to stand up against tyranny?

 7     A.   As December went on, I think at that point I was still

 8     trying to, you know, hope for, like, just a -- a decent

 9     outcome, some type of victory somewhere.           And, you know, as the

10     days went by and -- and it didn't seem like that was happening,

11     it was just a matter of, you know, again, trying to figure out

12     in my own mind what exactly I would be able to do to support

13     President Trump who had just lost against the incoming

14     administration.

15     Q.   Okay.

16                  MR. NESTLER:    Let's go to Exhibit 5310, just for the

17     witness, please.

18     BY MR. NESTLER:

19     Q.   Have you seen this message before, Mr. Dolan?

20     A.   Yes.

21                  MR. NESTLER:    The government moves into evidence

22     Exhibit 5310.

23                  MR. WOODWARD:   No objection.

24                  THE COURT:   5310 will be admitted.

25                  (Government Exhibit 5310 admitted into evidence.)
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 1     BY MR. NESTLER:

 2     Q.   And this is a message from December 21st of 2020 at about

 3     11:20 at night.     Do you see that?

 4     A.   Yes.

 5     Q.   Who was posting?

 6     A.   It says Stewart Rhodes.

 7     Q.   And if he was posting in the OKFL Hangout chat, what does

 8     that mean to you?

 9     A.   He was talking to the Oath Keepers in Florida.

10     Q.   And do you see that he says, "We need to push Trump to do

11     his duty.   If he doesn't, we will do ours.               Declare

12     Independence.      Defy.   Resist.     Defend.        Conquer or Die.

13     This needs to be our attitude."          Do you see that he wrote

14     that?

15     A.   Yes.

16     Q.   What did you understand him to mean when he said that you

17     needed to push Trump to do his duty?

18     A.   I'm guessing at that point in time it was, you know,

19     letting Trump know that he needs to not let this election be

20     overturned through what we saw as fraud and that he needs to --

21     either he needs to do something to -- to stop what we thought

22     of as -- or what I thought of as an illegitimate election

23     and --

24     Q.   And if President Trump didn't do his duty to stop what

25     you-all thought was an illegitimate election, what did you
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 1     understand Stewart Rhodes to mean when he said then we need to

 2     do ours -- "we will do ours"?

 3     A.   Then it would be --

 4                MR. LINDER:     I'd like to object.

 5                (Bench conference on the record.)

 6                MR. LINDER:     Judge, this is clearly speculation,

 7     unless he actually knows.

 8                THE COURT:    Mr. Bright.

 9                MR. LINDER:     It's Phillip Linder.       Sorry.

10                THE COURT:    Sorry, Mr. Linder.

11                MR. LINDER:     Judge, this is clearly speculation

12     unless he actually knows.     I mean, he hasn't said that Trump

13     could invoke the Insurrection Act.        If he wants to say that --

14     or if that's what Rhodes said, that's fine, but he was just

15     kind of speculating with the way the question was asked.

16                MR. NESTLER:    I don't believe that's correct at all.

17     I asked what was your understanding of what he meant.

18                THE COURT:    I think -- yeah, I mean, I think if it's

19     asked as how did you understand Mr. Rhodes's words or how did

20     you take Mr. Rhodes's words or what you did you understand them

21     to mean, as opposed to what did Mr. Rhodes mean by this?             I

22     mean, I agree with you that he can't answer that question

23     unless he had a conversation with him about that, but I don't

24     think he'll say that.     So if he just -- if the question is

25     framed in a manner we've just talked about.
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 1               Mr. Linder, is that acceptable?

 2                  MR. LINDER:   Yes, sir.     Thank you.

 3                  THE COURT:    Okay.

 4                  (Proceedings held in open court.)

 5     BY MR. NESTLER:

 6     Q.     Mr. Dolan, what did you understand Stewart Rhodes to mean

 7     when he said, "If he doesn't, we will do ours"?

 8     A.     If the President wasn't going to act, then we would have to

 9     act.

10     Q.     What did that mean to you, that we would have to act?

11     A.     As -- as what we saw ourselves as patriotic Americans, be

12     willing to fight back against an illegitimate government and --

13     and support what we saw as the rightful President against an

14     illegitimate President.

15     Q.     And how would you fight to support President Trump against

16     what you considered to be an illegitimate government?

17     A.     Any way we could.   I believe at this point we were

18     preparing for a trip to D.C.       I'm not sure of the exact date.

19     But if need be, then to -- to take up arms and fight back,

20     because that's -- that's what we have been talking about.

21     That's -- we may not have exactly been saying it, but that was

22     the tenor; we have to fight back.         We have to fight back.

23     And -- and it was -- it was a feeling like our country or --

24     was slipping out of our fingers and we needed to defend our

25     country.    Conquer or die.
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 1     Q.   And you said take up arms to fight against the government;

 2     is that right?

 3     A.   Correct.

 4     Q.   Were you prepared here in late December of 2020 to take up

 5     arms to fight against the government?

 6     A.   Mentally, I believe at that time I was preparing to, yes.

 7     Q.   And did you actually take arms, firearms, from Florida to

 8     the D.C. area?

 9     A.   Yes.

10                 MR. NESTLER:   At this time I want to display for

11     Mr. Dolan Government Exhibit 37, already in evidence.                It's

12     been cleared by the marshals, Your Honor.          Special Agent Harris

13     is going to display it.

14              I'm sorry.   That's okay.

15                 THE COURT:   Can I ask you to take the firearm back.

16     Can I ask one of the marshals to approach, please.

17                 MR. NESTLER:   You can take it back.

18                 (Off the record.)

19                 THE COURT:   All right.     Mr. Nestler, you can go

20     ahead.

21                 MR. NESTLER:   Thank you, Your Honor.

22              Agent Harris, you can come back with Government

23     Exhibit 35 -- I'm sorry.     This is Government Exhibit 37.

24     BY MR. NESTLER:

25     Q.   Mr. Dolan, you said that you were prepared to take up arms.
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 1     Is this one of the arms you were prepared to take up?

 2     A.   That was my rifle, yes.

 3     Q.   How do you know it's your rifle?

 4     A.   Because I built it.

 5                  MR. NESTLER:    If we can display it to the jury,

 6     please.

 7               Thank you, Agent Harris.

 8     BY MR. NESTLER:

 9     Q.   In addition to taking your rifle from Florida up to the

10     D.C. area, did you bring any other firearms with you?

11     A.   I brought a pistol.

12                  MR. NESTLER:    At this time the government is going to

13     display to defense counsel Government Exhibit 39.

14                  MR. LINDER:    No objection.

15     BY MR. NESTLER:

16     Q.   I'll show you -- just Mr. Dolan -- Government Exhibit 39.

17     Do you recognize what this is, Mr. Dolan?

18     A.   Looks like it was one of my pistols.

19                  MR. NESTLER:    The government moves into evidence

20     Government's Exhibit 39.

21                  THE COURT:    39 will be admitted.

22                  (Government Exhibit 39 admitted into evidence.)

23                  MR. NESTLER:    Thank you.   You can display to the

24     jury, Agent Palian.       And this has been cleared by the marshals.

25     It has a zip tie through it.
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 1     BY MR. NESTLER:

 2     Q.   At the time you transported it, did you have any magazines

 3     that went with it?

 4     A.   When I brought it up to D.C., yes.

 5     Q.   How many magazines -- how many bullets did each magazine

 6     hold?

 7     A.   I -- probably -- I usually carry two magazines.             Each

 8     magazine, I think, probably had 14 -- 14 rounds -- 12 rounds or

 9     14 rounds.

10                  MR. NESTLER:   Thank you.     You can take it back,

11     Agent Palian.

12     BY MR. NESTLER:

13     Q.   Why did you travel to D.C. with these firearms?

14                  MS. HALLER:    Objection.

15                  UNIDENTIFIED ATTORNEY:      Objection.

16                  MR. LINDER:    Objection.    States facts not in

17     evidence.

18                  THE COURT:    He said he just went to D.C. with those

19     firearms.

20                  MR. LINDER:    He didn't go to D.C.

21                  THE COURT REPORTER:     I'm sorry.     Can you identify

22     yourself.

23                  MR. LINDER:    It was Phillip Linder.

24                  THE COURT:    All right.    Why don't you rephrase it to

25     actively --
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 1                MR. NESTLER:     Sure.

 2                THE COURT:     -- reflect the geography.

 3     BY MR. NESTLER:

 4     Q.   Mr. Dolan, you said you traveled to D.C. with firearms;

 5     right?

 6     A.   I apologize.

 7     Q.   No, no.   Don't apologize.       Why don't you explain what you

 8     meant by that.

 9     A.   We traveled up to Virginia.        We stopped at a hotel in

10     Alexandria, Virginia, and dropped our firearms off at the hotel

11     there.   I did not bring them into D.C. itself.

12     Q.   Did you consider -- well, you used the phrase "D.C." when

13     you traveled with your firearms.          Can you explain your thinking

14     behind that.

15     A.   I was thinking the general area.          But we were trying to be

16     very specific and not actually bring any firearms into

17     Washington, D.C., itself because the laws in D.C. weren't

18     allowing that.     You couldn't bring them into D.C.

19     Q.   And so why did you travel with your firearms to the D.C.

20     area?

21     A.   I was asked to bring my firearms up there.             They were going

22     to be used, if we had to use them, for several different

23     reasons.   There was a lot of discussion initially about Antifa.

24     So there was a fear of some type of attack by Antifa or

25     other -- other groups that were like them against us.
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 1               On the way up there, there was a rifle range that we had

 2     talked about stopping at if we had time, shooting at the range.

 3     And there was a quick reaction force when we got to the hotel

 4     in D.C.    That if we did need our firearms, they could -- we

 5     would either retrieve them or they would be brought to us

 6     somehow.

 7     Q.   And what was your understanding of -- of -- in what

 8     situations you would need your firearms?

 9     A.   My understanding was that if the -- if President Trump

10     declared the Insurrection Act, that we would be working

11     alongside or with pro-government forces against what we saw as

12     anti-government forces and, in some way or another, fighting

13     against what we saw as anti-government forces.

14     Q.   Let's unpack that for a little bit.           What was your

15     understanding of who these anti-government forces would be who

16     you would be fighting against?

17     A.   My -- my thinking was that you would have portions of,

18     basically, the -- the federal government, whether it was

19     military, law enforcement, that would side with President Trump

20     and portions that would side with President Biden.

21               So if President Trump had declared the Insurrection Act,

22     that we would be fighting with pro-Trump forces, basically,

23     against pro-Biden forces.

24     Q.   Within the United States government?

25     A.   Within -- yes.
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 1     Q.   And what was your understanding at this time in late

 2     December of 2020 of which entity in the United States

 3     government at the time was the pro-Biden entity?               Which

 4     portion?

 5     A.   You mean like political party?         It would be --

 6     Q.   I mean like which branch of government was pro-Biden?

 7     A.   So I guess Congress was, I guess, Democrat [sic].                  They

 8     were the ones who were going to be certifying the election on

 9     January 6th.       So in that sense, I guess it would be them and

10     then forces that were on the same side as them.

11     Q.   Now, you just mentioned the phrase "the Insurrection Act."

12     I want to go back to that for a minute.              Okay?

13     A.   Okay.

14     Q.   Had you heard of the Insurrection Act aside from what was

15     being posted on Oath Keepers chat boards and on the

16     Oath Keepers website?

17     A.   I had heard of it just through history, you know, classes

18     growing up, but that's about the extent of it.

19     Q.   Did you -- well, what was your understanding when you heard

20     about it from Oath Keepers chats?

21     A.   That the President could call up the Insurrection Act -- or

22     declare the Insurrection Act, which would give him power to

23     basically militarize the militias, each -- I guess, and that --

24     use us to help fight against, I guess, anti-Trump forces.

25     Q.   And who was it, primarily, who was explaining to you what
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 1     the Insurrection Act allowed?

 2     A.    Primarily coming through Signal.       I didn't really go into

 3     and look at the legalities of the Insurrection Act.             I was just

 4     kind of relying on the group within the Oath Keepers.

 5     Q.    Are there particular people within the Signal chats that

 6     were talking about the Insurrection Act that you were relying

 7     on?

 8     A.    If I remember right, Stewart Rhodes had talked about the

 9     Insurrection Act.     Other people may have mentioned it.            But as

10     far as the Insurrection Act themselves, from my understanding,

11     he was a trained -- like an attorney.         So I -- I was kind of

12     assuming and relying on the idea that legally -- the legal

13     justification for it, he'd probably be much more familiar with

14     it than I am.

15     Q.    And what was your understanding from these communications

16     from Stewart Rhodes and other members of the Oath Keepers about

17     how you, Jason Dolan, would be notified if President Trump had

18     invoked the Insurrection Act and asked for you, Jason Dolan, to

19     bring your AR-15 into service?

20     A.    It would just --

21                 MS. HALLER:   Objection to form.       Leading.

22                 THE COURT:    It's overruled.

23     A.    My assumption, it would come down -- I joined the

24     Oath Keepers because it seemed like there was a lot of military

25     in there.   And that's kind of what, you know, drew me to it,
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 1     being former military.     So I was assuming it would come down

 2     through a chain of command from -- from Stewart Rhodes to Kelly

 3     to -- to me at some point.

 4     BY MR. NESTLER:

 5     Q.   And was there somebody between you and Kelly?

 6     A.   Again, Kenny was part of the group that -- if I was going

 7     to be a part of, he would have been in charge of that group.

 8     Q.   And so if your chain of command, Stewart Rhodes,

 9     Kelly Meggs, Kenneth Harrelson, told you to, what were you

10     going to do with those firearms?

11     A.   Follow whatever orders they directed.         If it was to move

12     into D.C., to retrieve the firearms, to -- I -- I thought if

13     something like this was going to happen, it would -- it would

14     look very, kind of, government-on-government type of fighting.

15     And so I don't know exactly what faction or form it would take.

16     But being prepared to work along one side most likely fighting

17     against another.

18     Q.   Now, this was talking about the Insurrection Act; right?

19     A.   Correct.

20     Q.   Now, are you aware of any conversations on Signal chats or

21     GoToMeetings about what your group -- and you specifically --

22     would do if President Trump did not do his duty, did not invoke

23     the Insurrection Act?

24     A.   It was kind of like the same texts that were there before.

25     You felt an obligation to support and defend the Constitution
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 1     against all enemies, foreign and domestic, whether the

 2     President had invoked the Insurrection Act or not.            That's a

 3     lot of the talk, and the idea went along that.           If he doesn't

 4     do it, we will.

 5     Q.   What does that mean that we will if he doesn't?

 6     A.   We will act to stop the certification of the election.

 7     Q.   How?

 8     A.   By any means necessary.      That's why we brought our

 9     firearms.

10     Q.   Now, you served in the Marine Corps for 19 years; is that

11     right?

12     A.   Yes.

13     Q.   How did your superiors give you orders or tell you what to

14     do in the Marine Corps?

15     A.   You had what's called the orders writing process, but it

16     would come down --

17                 THE COURT REPORTER:     Orders writing process?

18                 THE WITNESS:   Correct; yes.

19     A.   But, basically, it would come down from senior officers to

20     junior officers to enlisted.

21     BY MR. NESTLER:

22     Q.   And how did you know what it is that you wanted your

23     superiors -- sorry.     That's a bad question.

24              How did you know what your superiors wanted

25     accomplished?
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 1     A.   Basically, you had the -- what's called the mission --

 2     mission-planning process.      You -- you create a plan and you

 3     have an intent.     So the planning process outlines kind of all

 4     the steps necessary to achieve a certain goal.            And the

 5     commander's intent or what can we called the commander's intent

 6     would outline why you want to achieve that goal.             That way if

 7     all hell breaks loose and goes to crap with the plan, you know

 8     what the overall intent is.

 9             And so plans can change, but you have, I guess, the main

10     goal or the main idea and why you want that idea to be

11     accomplished.      So you have your -- your plan.        Your -- your

12     mission describes how you'll do something, and the commander's

13     intent describes why you're going to do it.

14     Q.   Now, how did this theory of a commander's intent apply to

15     your position within the Oath Keepers organization?

16     A.   Well, the commander's intent describes why.            So I guess

17     within the Oath Keepers, you -- there wasn't a specific

18     mission.    But I guess along with the text and the talks and

19     everything, we kind of had a why.         We wanted to -- we were

20     going to have our firearm.

21             For instance, we would have our firearms in -- in

22     Virginia.   The overall goal why is if the Insurrection Act was

23     declared, we would have a QRF, quick reaction force, ready to

24     go get our firearms in order to stop the election from being

25     certified within Congress.
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 1     Q.     And your understanding from the Oath Keepers was -- well,

 2     what did you think the other members of the Oath Keepers wanted

 3     to accomplish with respect to President Trump and

 4     President Biden?

 5                   MR. CRISP:   Objection.      Speculation, Judge.

 6                   THE COURT:   Rephrase the question.

 7                   MR. NESTLER:   Sure.

 8     BY MR. NESTLER:

 9     Q.     You had seen messages from Stewart Rhodes about the

10     Insurrection Act; is that right?

11     A.     Yes.

12     Q.     And what was your understanding of what it was that

13     Stewart Rhodes was saying that he wanted President Trump to do

14     in terms of invoking the Insurrection Act?              What would it have

15     accomplished?

16     A.     If -- if the President invoked the Insurrection Act, then

17     we would be stopping -- he would be stopping the certification

18     of the election of President Biden by invoking the Insurrection

19     Act.    And if he didn't do it, then we would need to step up and

20     stop the certification of what -- what I saw -- I don't want to

21     put words in his mouth, but as what I saw as an illegitimate

22     election.     So the certification process would still have to be

23     stopped.

24     Q.     So if the Insurrection Act had been invoked, it would have

25     made your job easier?
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 1     A.   It would have made it probably a lot easier and we wouldn't

 2     be sitting here today.     If he'd invoked it, there -- there -- I

 3     think -- if he had invoked it, you -- we would have had -- I

 4     don't know what would have happened.

 5     Q.   What was your understanding of what --

 6     A.   If -- if he invoked the Insurrection Act, I think you would

 7     have factions of the federal government fighting against other

 8     factions of the federal government because there -- I mean,

 9     this is speculation, of course, but it -- it would have given

10     it an air of, I guess, legality to it, legitimacy to it by the

11     President specifically calling -- and he was the acting

12     President at the time -- saying this is what I need.              I want my

13     militias.   I want everybody to stand up and defend me.              If I

14     can't defend myself, please do it for me.          Help.    So.

15     Q.   And so to make it clear, this is all what you're thinking

16     would happen if President Trump invoked the Insurrection Act

17     and asked for your assistance with your firearms; right?

18     A.   Correct.

19     Q.   Now, what was your understanding of what you were prepared

20     to do if President Trump did not invoke the Insurrection Act,

21     did not ask for your help with your firearms?

22     A.   At that point, you know, I would have followed along with

23     the other Oath Keepers.     But just based off of all the threads,

24     all the -- all the different texts, it seemed to me that --

25     mind you, I haven't looked at these in quite a long time, but a
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 1     lot of us were prepared -- I was prepared to stop the

 2     certification process one way or the other.

 3     Q.   Let's talk about your trip up to the D.C. area.            Did --

 4     what kind of vehicle did you use to get here?

 5     A.   I used a minivan.

 6     Q.   Did you pick anybody up on the way?

 7     A.   Picked up Kenny and Terry.

 8     Q.   And by "Kenny," you're referring to Defendant Harrelson?

 9     A.   Kenneth Harrelson, yes.      And Terry -- I don't know his last

10     name.

11     Q.   And what kind of gear did you bring with you, Mr. Dolan?

12     A.   I brought a flak jacket, a helmet, Kevlar, my rifle,

13     pistol, camis, camouflaged uniform, bear spray, and probably a

14     few other things.

15     Q.   What -- what's a flak jacket or Kevlar?

16     A.   Basically, I had a -- a -- a plate carrier.           I held a plate

17     that's bulletproof.

18     Q.   Did you bring any ammunition with you?

19     A.   Yes.

20     Q.   Approximately how much?

21     A.   Some few hundred rounds.

22     Q.   What kinds of ammunition?

23     A.   I brought some ammo for my rifle.        It was 5.56.      And I

24     brought some ammo for my pistol.

25     Q.   Did you carry your firearms inside of the case?
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 1     A.   Yes.

 2     Q.   I'm going to show you Government Exhibit 35 already

 3     admitted into evidence.

 4                 MR. NESTLER:    You can just hold it up from there,

 5     Agent Harris.

 6     BY MR. NESTLER:

 7     Q.   Is this the firearms case you traveled with?

 8     A.   Yes, that was.    That is my case, yes.

 9     Q.   When you picked Terry up, could you tell whether Terry had

10     with him a firearms case?

11     A.   Yes.

12     Q.   Can you describe it.

13     A.   Smaller case than that one, black, probably about the same

14     length.

15     Q.   When you picked Ken Harrelson up, did he have a firearms

16     case?

17     A.   Yes.

18     Q.   Can you please describe that.

19     A.   Probably about the same width, but much deeper.            It was

20     probably about a foot high.       Similar color.      I think it was a

21     dark green.

22     Q.   So was it bigger or smaller than yours?

23     A.   Bigger.

24     Q.   And how many firearms could you hold in your firearms case?

25     A.   I could put two -- two rifles in my mine, side by -- like
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 1     if I had a towel or something between them.

 2     Q.   And so what was your understanding of how many firearms

 3     could fit inside of Kenneth Harrelson's firearms case?

 4     A.   Probably at least two.

 5     Q.   As you drove up towards the D.C. area, did you meet up with

 6     other members of your group?

 7     A.   Yes, we -- we met up at a gas station just before leaving

 8     Florida and crossing into Georgia.

 9     Q.   And did you see anybody there that you recognized?

10     A.   Well, at that point, the only people I had met were Kelly.

11     And then that day picking them up was Kenny and Terry.               So I

12     didn't recognize anybody else when I got there, but there were

13     other Oath Keepers there.

14     Q.   So that day was the first day you had met Kenneth Harrelson

15     in person?

16     A.   Yes.

17     Q.   And when you saw Kelly, that means Defendant Meggs; right?

18     A.   Yes.

19     Q.   You saw Defendant Meggs there.       Where did you-all travel to

20     that night of January 4th?

21     A.   We kind of had a loose convoy up to North Carolina.              I

22     think it was a town called Whiteville.

23     Q.   Where did you stay when you were in Whiteville,

24     North Carolina?

25     A.   Basically, pulled into -- I don't know -- like a tree,
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 1     grassy, open area.     There was a little small shed.          Not much

 2     more than that.    Slept on the floor of a shed, got up early the

 3     next morning, and left.

 4     Q.   When you got up early the next morning, that was on

 5     January 5th; is that right?

 6     A.   Drove up there on the 5th, yes.         Yes.   January 5th.

 7     Q.   And where did you and Kenny and Terry drive to?

 8     A.   Went straight from there to the hotel in Virginia to drop

 9     off our firearms.     It was kind of the staging point for all our

10     gear.

11     Q.   When you got to the hotel with the firearms, did you go to

12     the aboveground parking lot or the belowground parking lot?

13     A.   There was an underground parking lot.

14     Q.   Why did you use the underground parking lot?

15     A.   That's where everybody was parked.

16     Q.   Did you see other people there?

17     A.   Yes.

18     Q.   What were they doing?

19     A.   Dropping off gear.

20     Q.   Could you tell what kind of gear they were dropping off?

21     A.   Similar cases to mine.       I didn't open anybody's gear.

22     There was luggage, stuff like that.

23     Q.   And remind us, on all these Signal messages before you

24     left, had there been any conversations about firearms?

25     A.   Yes.
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 1     Q.   What did those conversations generally entail?

 2     A.   Asking us to bring our firearms up to the hotel to drop

 3     them off for a QRF.

 4                   MR. NESTLER:   I'm going to pull up on the screen

 5     Government Exhibit 1510.12 already admitted into evidence.            I

 6     want to bring it to 1:05 on the counter, please, Ms. Rohde.

 7     BY MR. NESTLER:

 8     Q.   Do you see --

 9                   MR. NESTLER:   If we can play that forward for just a

10     couple seconds.

11                   (A video recording was played.)

12                   MR. NESTLER:   Pause it there.

13     BY MR. NESTLER:

14     Q.   Do you see the person with the light green arrow in the

15     front?

16     A.   Yes.

17     Q.   Who is that?

18     A.   That was Kenny.

19     Q.   And who is the person depicted with the pink arrow behind

20     the cart?

21     A.   The pink arrow is me.

22     Q.   And the person with the blue arrow?

23     A.   Terry.

24                   MR. NESTLER:   And if we can play it forward, Ms.

25     Rohde.
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 1                  (A video recording was played.)

 2                  MR. NESTLER:    And stop it there.

 3     BY MR. NESTLER:

 4     Q.   And do you see the cart clearly visible on the left side of

 5     the frame?

 6     A.   Yes.

 7     Q.   What do you see on the cart?

 8     A.   The rifle cases and some other gear.

 9     Q.   From left to right, whose rifle case is on the left?

10     A.   On the left would be mine.

11     Q.   Whose rifle case is in the middle?

12     A.   That was Terry's.

13     Q.   And whose rifle case is on the right?

14     A.   Kenny's.

15                  MR. NESTLER:    Now we can take that down, Ms. Rohde,

16     please.

17     BY MR. NESTLER:

18     Q.   Now, when you dropped your firearms off at the hotel in

19     Arlington, did you have any conversation with Kenny or Kelly,

20     Defendant Harrelson or Defendant Meggs, about the person who

21     would be waiting with the guns?

22     A.   Yeah.   The -- the person who was staying in the room, that

23     offered the room for the firearms, they knew who he was.             I

24     don't know who he is.       I don't know who he is today.        But it

25     was prearranged beforehand that he was in the room by himself.
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 1     That room could be used for the staging area for the firearms.

 2     And, basically, I was told he was good to go.

 3     Q.     And you were told this by whom?

 4     A.     Kenny and Kelly.

 5     Q.     What did it mean to you that Defendant Meggs and Defendant

 6     Harrelson had vouched for this person's trustworthiness?

 7     A.     Well, I trusted them and they trusted him, so.         So, yeah, I

 8     kind of went with the flow.

 9     Q.     Had you ever met the guy before?

10     A.     No.

11     Q.     And even that day, on January 5th, when you dropped off the

12     firearms, did you meet the guy?

13     A.     No, I did not go up that day.

14     Q.     Did you have a way to contact this man directly?

15     A.     No.

16     Q.     So what was your understanding of how you had --

17     A.     Oh, he was on Signal, if I had had Signal chat.          So let me

18     rephrase that.

19     Q.     Sure.

20     A.     It's possible I could have contacted him, but not directly.

21     We had the Signal chat, but that was it.

22     Q.     Did you know what his Signal name was?

23     A.     I'm sure I did at the time.    I don't know what it would be

24     now.

25     Q.     And do you know his true name?
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 1     A.   No.

 2     Q.   What was your understanding after you deposited your

 3     firearms at this hotel about how you would be able to access

 4     your firearms?

 5     A.   Either -- either the firearms would be brought to us; we

 6     would have to go get the firearms.        I -- it never really felt

 7     like there was a solid plan for that, but it was going to be

 8     one way or the other.      And somebody even talked about rowing

 9     them across the Potomac on a boat or something.

10     Q.   After leaving your guns at the hotel in Virginia, did you

11     drive into a hotel in D.C.?

12     A.   Yes.

13     Q.   And later that day, on January 5th, did you go to the area

14     of the United States Capitol?

15     A.   Yeah, we went up there that evening.

16     Q.   Who did you go with?

17     A.   There -- Kenny, Kelly, and several others.           I'm not sure

18     everybody -- what their names are, but -- but there's probably

19     five, six, seven of us.

20                 MR. NESTLER:    If we can pull up on the screen just

21     for Mr. Dolan Exhibit 5300.P.1.

22                 THE COURT REPORTER:     Say that again, Mr. Nestler.

23                 MR. NESTLER:    No problem.     5300.P.1.

24     BY MR. NESTLER:

25     Q.   Is this a photograph you took on January 5th, Mr. Dolan?
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 1     A.   Pardon me.    Yes.

 2                  MR. NESTLER:   The government moves this exhibit into

 3     evidence.

 4                  MS. HALLER:    No objection.

 5                  THE COURT:    All right.   5300.P.1 will be admitted.

 6                  (Government Exhibit 5300.P.1 admitted into evidence.)

 7                  MR. NESTLER:   If we can display to the jury, please.

 8              It's all right.    We'll make due.

 9                  THE COURT:    JC, you just need to flip the switch.

10                  MR. NESTLER:   It's just one photograph.

11     BY MR. NESTLER:

12     Q.   Does this look like the photograph we were talking about?

13     A.   Yes, it looks like it.

14     Q.   Now, in this photograph, when -- when you were there on

15     January 5th, did you observe any barricades on the east side of

16     the Capitol?

17     A.   Yeah.   They're in the photo.      You can see the barriers

18     there.

19     Q.   And eventually, Mr. Dolan, did you have your attorneys give

20     the government a flash drive with this photo and other photos

21     and videos you had?

22     A.   Yes.

23     Q.   Now, let's talk about January 6th.            When you got up that

24     morning, what kind of gear did you put on?

25     A.   All my gear was down at the car.        We had to wait until
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 1     8 o'clock in the morning to go get it.               So it was my gear,

 2     Kenny's.     I don't think Terry had gear like that.             So he may

 3     have already gone ahead, but we grabbed our flaks, Kevlars, all

 4     our gear.    And we were getting ready to -- I don't know --

 5     figure out what -- how we were going to get down to the

 6     Capitol.

 7     Q.   So let me stop you there for a second.

 8     A.   Okay.

 9     Q.   So you said you had a bunch of gear; is that right?

10     A.   Yes.

11     Q.   And so did Defendant Harrelson?

12     A.   Yes.

13     Q.   But Terry did not?

14     A.   I don't think he did.        I don't remember him being with us.

15     I think he had already gone ahead.

16     Q.   So you and Defendant Harrelson put your gear on; is that

17     right?

18     A.   Yes.    Well, carried it up to the hotel lobby.

19     Q.   And after you carried it up to the hotel lobby, did you put

20     it on?

21     A.   Yeah.    It was either on us or, you know, at our feet ready

22     to go.

23     Q.   And that included a -- a bulletproof vest?

24     A.   Yes.

25     Q.   And did you see what Kenneth Harrelson was wearing?
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 1     A.   At the time, yeah.      But, I mean, I don't exactly remember

 2     what it was.       I just remember when we got the call saying we

 3     don't need to bring that stuff, that I was kind of happy about

 4     it because it's heavy.

 5     Q.   And so do you know who called you?

 6     A.   I didn't get the phone call.         Kenny did.

 7     Q.   And could you tell who it was that called Kenny?

 8     A.   I believe it was Kelly, but I can't say that with a hundred

 9     percent certainty because I didn't --

10     Q.   Why?

11     A.   Because he was the one in charge of us.

12     Q.   What do you mean that Kelly was in charge of you?

13     A.   Well, he was in charge of the group of Florida Oath Keepers

14     that was there.

15     Q.   Why did you think that?

16     A.   Because he was in charge of the Florida Oath Keepers.

17     Q.   And who was the person making all the plans and logistics

18     before you came up to D.C.?

19     A.   Doing that through Kelly and probably a couple other

20     people.

21     Q.   Now, did you eventually make your way down to the rally for

22     President Trump at the Ellipse behind the White House?

23     A.   Yes.

24     Q.   And did there come a time when you left that rally to go

25     towards the Capitol?
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 1     A.    Yes.

 2     Q.    Who did you leave that rally with?

 3     A.    There was me and Kenny, a whole bunch of people from the --

 4     organizers for "Stop the Steal."         I don't know who they were.

 5     And I believe there were two other Oath Keepers, and I don't

 6     really know who they were either.         So I guess there were

 7     about -- I guess maybe three or four of us Oath Keepers, whole

 8     bunch of "Stop the Steal" people, and at that point that was

 9     it.   We started moving.

10     Q.    And while you were on your way to the Capitol, did anybody

11     get any communications about what was going on at the Capitol?

12     A.    Yeah.   Much further down, as we started to get closer to

13     the Capitol, one of the people in the group -- I don't know if

14     it was a text or a call.     But received word that people had

15     stormed into the Capitol.

16     Q.    What did you think about that?

17     A.    I was pretty surprised.

18     Q.    Why?

19     A.    I knew there was the protest going on, but I didn't think

20     it was possible people would be getting into the Capitol, like

21     storming past.     I don't know.     It just -- it surprised me.

22     Q.    Which side of the Capitol did you go to?

23     A.    We maneuvered around -- you know, as you're looking at the

24     Capitol, around the left side going up around it to the back.

25     Q.    And while you were there, did you hear anything from the
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 1     crowd about Vice President Pence?

 2     A.   At some point, it -- I believe it was -- went through the

 3     crowd that Vice President had certified -- or -- or -- I'm not

 4     sure if it was certifying the vote or -- or failing to -- I

 5     think he had the chance to, like, put a pause on the -- the

 6     certification process.     I think that's more what it was,

 7     which -- little hazy, but I don't think he -- he had that

 8     opportunity and didn't do it.

 9     Q.   And when you heard that, how did you feel?

10     A.   Pretty pissed.

11     Q.   Why?

12     A.   Because it seemed like that was the -- the very last

13     opportunity for anything to happen, I guess, from a legal

14     standpoint.    That was the last thing.       It was supposed to be

15     like a 48-hour hold.     Let us look at this.        And, again, it was,

16     like -- I think you kind of felt a palpable feeling where the

17     crowd went from being pretty -- a pretty happy, joyful crowd to

18     a pretty kind of pissed-off crowd.

19     Q.   Now, take us back to what you had been talking about with

20     the rest of the members of your group back in December before

21     you got to D.C.    You had talked about how you were looking for

22     these legal avenues to keep President Trump in power; is that

23     right?

24     A.   That's correct.

25     Q.   And by the time you had got to D.C., were any of these
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 1     legal avenues, aside from what Vice President Pence was doing,

 2     still active?

 3     A.   Didn't appear to be.

 4     Q.   And you said you had heard about Vice President Pence

 5     potentially pausing the certification; right?

 6     A.   Correct.

 7     Q.   And so now that you heard while you're there at the Capitol

 8     that Vice President Pence has not paused the certification and

 9     that was the last legal avenue you were waiting for, what did

10     you think?

11     A.   Again, it wasn't just me.      It was -- I was pissed, and you

12     could almost feel the crowd change.         The crowd was pissed.

13     Q.   And so we had talked before with what you wanted to

14     accomplish.     What did you think now about what needed to be

15     done?

16     A.   You had a pissed-off angry crowd, and I know from my

17     perspective, it was -- it seemed like you were never ever going

18     to have literally possibly hundreds of thousands of people all

19     in one spot at one time that were pissed.            You know, it's --

20     basically talked about numbers before.             You know -- you know, a

21     hundred people get arrested; a thousand people, you know,

22     whatever it was, make noise; 10,000 people an Army.               Well, you

23     had a hundred thousand people who seemed like they were pissed

24     that day.    And it -- I know for me at least, it seemed like if

25     anything was going to happen to stop the certification of the
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 1     election, that was going to be it.

 2     Q.   Have you seen yourself on video at the Capitol shortly

 3     after this sort of mood changed outside of the building?

 4     A.   Yes.

 5     Q.   I'm going to pull up on the screen just for the witness

 6     Exhibit 1503.1.

 7             And do you recognize this video?

 8                   MR. NESTLER:   If we play it forward for a couple of

 9     seconds, Ms. Rohde.

10                   (An audio-visual recording was played.)

11                   MR. NESTLER:   Just for the witness.

12     BY MR. NESTLER:

13     Q.   Do you recognize this video, Mr. Dolan?

14     A.   I recognize me in it, but I didn't take the video, yes.

15     Q.   Right.    Does this video fairly and accurately depict you on

16     the Capitol on January 6th?

17     A.   Yes.

18                   MR. NESTLER:   Government moves to admit into evidence

19     Exhibit 1503.1.

20                   THE COURT:    Did you say 15?

21                   MR. NESTLER:   Yeah, 1503.1.

22                   THE COURT:    All right.   That will be admitted.

23                   (Government Exhibit 1503.1 admitted into evidence.)

24                   MR. LINDER:    What was that?

25                   MR. NESTLER:   1503.1, a subset of.
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 1              If we can display to the jury, please.          And if we could

 2     play forward and pause it at about a second or two.

 3                   (An audio-visual recording was played.)

 4                   MR. NESTLER:   Pause it there.

 5     BY MR. NESTLER:

 6     Q.   And do you -- you see the two people who are in circles?

 7     A.   Yes.

 8     Q.   Who is the person closest to the video camera?

 9     A.   The -- the one with the lighter-colored hat would be me.

10     Q.   And the person with the darker-colored hat in front, who is

11     that?

12     A.   Kenny.

13     Q.   Kenneth Harrelson?

14     A.   Yes.

15                   MR. NESTLER:   If we can play it forward, please, Ms.

16     Rohde.

17                   (An audio-visual recording was played.)

18                   MR. NESTLER:   You can pause it there for a second.

19     BY MR. NESTLER:

20     Q.   At 22 seconds, could you tell what the police were doing on

21     the stairs on the east side of the Capitol here, Mr. Dolan?

22     A.   From this perspective, it's a little tough.            But from what

23     I remember at the time, they were trying to keep the crowd from

24     moving up the steps.

25     Q.   Was there a line of police officers there?
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 1     A.   Yes.

 2                  MR. NESTLER:   If we could play this forward until the

 3     end, please.

 4                  (An audio-visual recording was played.)

 5                  MR. NESTLER:   Now we can pull up just for the

 6     witness, please, 1503.2.

 7     BY MR. NESTLER:

 8     Q.   Is this another video in which you can see yourself at the

 9     east side of the Capitol, Mr. Dolan?

10     A.   Yes.

11     Q.   And does this video fairly and accurately depict what you

12     recall that day?

13     A.   Yes.

14                  MR. NESTLER:   Government moves into evidence 1503.2.

15                  MS. HALLER:    No objection, Your Honor.

16                  THE COURT:    1503.2 will be admitted.

17                  (Government Exhibit 1503.2 admitted into evidence.)

18                  MR. NESTLER:   And if we can please publish to the

19     jury.

20     BY MR. NESTLER:

21     Q.   And, Mr. Dolan, do you see the person right on the left

22     side who I've circled?

23     A.   Yes.    That's me.

24                  MR. NESTLER:   And if we can please play this forward,

25     Ms. Rohde.
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 1                  (An audio-visual recording was played.)

 2     BY MR. NESTLER:

 3     Q.   Now, Mr. Dolan, did you observe what happened to that line

 4     of police officers protecting the stairs?

 5     A.   At some point, shortly after that, they kind of collapsed

 6     in and went up the stairs.

 7     Q.   What did that mean for you?

 8     A.   Meant they were out of our way and we could get up the

 9     stairs.

10     Q.   What did you do?

11     A.   Went up the stairs.

12     Q.   Did there come a time shortly after that when you and

13     Defendant Harrelson joined together on the top of the stairs?

14     A.   Yeah.    It was a little bit after that.        We got separated at

15     some point.    I remember moving around all across the top.          At

16     some point I was able to look down.         I saw Mr. Harrelson on the

17     steps, and I moved down and met up with them.

18     Q.   Did there come a time shortly after that when Kelly Meggs

19     and other members of your group came to where you were?

20     A.   Yeah.    I don't know how long exactly.        A few minutes.   I

21     guess they either saw us or we saw them.           Things were happening

22     pretty quick, and they moved up the steps to join us.

23     Q.   When you saw Kelly Meggs and other members of the group,

24     did the crowd start saying anything?

25     A.   Not initially.    When they came up the steps, the crowd was
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 1     singing the National Anthem.      So everybody kind of fanned out

 2     on the steps singing the National Anthem.          When the National

 3     Anthem stopped, probably sometime in the next minute or so,

 4     somebody in the crowd started yelling Oath Keepers or

 5     somebody -- several people, I don't know.          But a whole bunch of

 6     people, "Oath Keepers, Oath Keepers, Oath Keepers."             At that

 7     point when they did that, the -- we as a group moved up the

 8     steps.    They were calling us saying, "Come up, come up," stuff

 9     like that.

10     Q.     How did it make you feel when the crowd was yelling for

11     Oath Keepers and calling you further up the stairs?

12     A.     At the time it felt pretty -- it felt pretty neat to be

13     recognized and have people, like, calling us out or calling me

14     out.

15     Q.     How did the crowd move at all as the Oath Keepers moved up

16     the stairs?

17     A.     Some people got -- overall, the crowd was pretty polite.

18     If you were trying to get through, they got out of your way.

19     So as we were moving up, people got out of the way.

20     Q.     When you were outside of the doors on the east side of the

21     Capitol Building, were -- were you recording at all on your

22     phone?

23     A.     Yes.

24     Q.     And can you tell whether Defendant Kenneth Harrelson was

25     recording on his phone?
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 1     A.   I believe he was, yes.

 2     Q.   I'm going to pull up on the screen for the witness 73.V.3.

 3                   MR. NESTLER:   If we can go back to the very

 4     beginning, Ms. Rohde.

 5     BY MR. NESTLER:

 6     Q.   Have you seen this video before, Mr. Dolan?

 7     A.   Yes.

 8     Q.   Does this appear to be the video that Mr. Harrelson took

 9     when -- from when you were outside the Capitol as to when you

10     were inside the Capitol?

11     A.   It appears that way, yes.

12                   MR. NESTLER:   Government moves into evidence 73.V.3.

13                   MS. HALLER:    No objection, Your Honor.

14                   THE COURT:    73.V.3 will be admitted.

15                   (Government Exhibit 73.V.3 admitted into evidence.)

16                   MR. NESTLER:   If we can please play this video.        It's

17     about 3 minutes long.

18                   (An audio-visual recording was played.)

19                   MR. NESTLER:   If you could please go back to the very

20     beginning, Ms. Rohde, before it starts.

21     BY MR. NESTLER:

22     Q.   Whose hands are those visible in the frame, Mr. Dolan?

23     A.   They appear to be mine.       Those look like my gloves.

24     Q.   And were you recording a short video at that time?

25     A.   I was.
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 1     Q.   Does that phone look like your phone?

 2     A.   It -- a little blurry, but it looks like it.

 3                  MR. NESTLER:   Let's go to 1:20 on the video, please,

 4     Ms. Rohde.    You can play it from there.

 5                  (An audio-visual recording was played.)

 6                  MR. NESTLER:   You can stop it there at 1:27.

 7     BY MR. NESTLER:

 8     Q.   Do you hear people are chanting?

 9     A.   Yes.

10     Q.   What's that?

11     A.   They're chanting treason.

12                  MR. NESTLER:   And if we could pull up Government

13     Exhibit 1097.1, which is admitted pursuant to a business record

14     certification.

15     BY MR. NESTLER:

16     Q.   Do you recognize the people in this photograph?

17     A.   Yes.

18     Q.   Who's the person on the left?

19     A.   I'm on the left as you're looking at it.

20     Q.   Who's the person on the right?

21     A.   Kenny is standing next to me.

22     Q.   What are you doing with your lips in this photograph?

23     A.   I was probably chanting treason as we came in.

24     Q.   What is Mr. Harrelson doing with his lips?

25     A.   I don't know what he's doing with his lips, but he was
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 1     probably chanting treason when he was coming in, as I was.

 2                  MR. GEYER:   Objection.

 3                  THE COURT:   Objection is sustained to the extent it's

 4     speculation.

 5                  MR. NESTLER:   Sure.

 6     BY MR. NESTLER:

 7     Q.    You were yelling; correct?

 8     A.    Correct.

 9     Q.    Were people around you yelling?

10     A.    Yes.

11     Q.    Did you hear Mr. Harrelson yelling?

12     A.    Yes.

13     Q.    What were people around you yelling?

14     A.    Treason.

15     Q.    What did you mean when you were yelling treason?

16     A.    The crowd started picking it up, and I started picking it

17     up.   It -- it felt like Congress having certified what I saw

18     as -- as an illegitimate election, installing what I thought

19     was an unelected President was committing treason to the

20     United States, and so I was chanting treason.

21     Q.    Who were the people who you thought were committing

22     treason?

23     A.    Congress.

24     Q.    And the people within Congress?

25     A.    Yeah, the House and Senate.
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 1     Q.   And the building you were in, did you know what building

 2     that was?

 3     A.   It's where the House and Senate is located.

 4     Q.   Did you think that the members of the House and the Senate

 5     were inside of that building?

 6     A.   I believe they were, yes.

 7     Q.   Did you want those members of Congress, those

 8     representatives and senators, to hear your chants of treason?

 9     A.   I wanted them to hear it.      I wanted them to hear me.        I

10     wanted them to stop the certification of the election, so yes.

11     Q.   What did you want them to feel and experience when you and

12     the rest of the members of the crowd were yelling treason

13     inside of the Capitol Building?

14     A.   I wanted them to hear and feel the same things that I was

15     feeling at the time; that it felt like, you know, I had been

16     betrayed.   And I wanted them to hear and feel the anger, the --

17     the frustration, the rage that -- that I felt.           They're

18     betraying -- they're betraying -- what I saw at the time is

19     they were betraying the country, and I wanted them to know that

20     and to stop doing it.

21     Q.   What feeling did you want them to experience as a result of

22     your chants of treason?

23     A.   I wanted them to be afraid of me, to not -- you know,

24     people will act out of kindness.        They will act out of charity.

25     But they'll act out of fear too, and if they weren't going
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 1     to -- from my perspective, you know, do the right thing, then

 2     maybe they could be scared into doing the right thing.

 3                  MR. NESTLER:   We can take the photograph down,

 4     please.     Thank you.

 5                  THE COURT:   Was that admitted and published?

 6                  MR. NESTLER:   Yes.   I'm sorry.       It was not published.

 7                  THE COURTROOM DEPUTY:     I published it.

 8                  MR. NESTLER:   Sorry.    It's a business record

 9     certification.     I'm sorry.

10                  THE COURT:   That's all right.

11     BY MR. NESTLER:

12     Q.   Who were you generally with inside of the Capitol Building,

13     Mr. Dolan?

14     A.   I -- I mainly tried to stick around with the two

15     Oath Keepers I knew, both Kenny and Kelly.            So I was usually on

16     the -- you know, eyeing for one of those guys and staying

17     relatively close to them.

18     Q.   At some point did you-all see a police officer?

19     A.   Yes.

20     Q.   Could you tell what the police officer was doing?

21     A.   He appeared to be guarding a stairwell or ladder well.

22     Q.   Can you explain to the jury what role you thought police

23     officers were performing at the Capitol that day?

24     A.   They were either trying to keep us from going to a certain

25     place or trying to keep us out of a certain place.
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 1     Q.   Sorry.    Go ahead.

 2     A.   Yeah.    Additionally, they were trying to keep us out of the

 3     Capitol Building, and he was guarding those stairs to keep

 4     people from going down those stairs.

 5     Q.   Were police officers your target that day?

 6     A.   They weren't a specific target.         I wasn't going after

 7     police officers, but they were, I guess, an obstacle, kind of a

 8     stepping stone to, you know, getting inside.

 9     Q.   Did you take a photograph while you were near the police

10     officer?

11     A.   Yes.

12     Q.   I'm going to pull up on the screen Government Exhibit 7.P.1

13     just for the witness.        Is this the photograph you took?

14     A.   Yes.

15                   MR. NESTLER:    Government moves the exhibit into

16     evidence.

17                   MS. HALLER:    No objection, Your Honor.

18                   THE COURT:    7.P.1 will be admitted.

19                   (Government Exhibit 7.P.1 admitted into evidence.)

20     BY MR. NESTLER:

21     Q.   And, Mr. Dolan, could you please describe -- in this

22     photograph, do you see Defendant Kelly Meggs?

23     A.   Yes.

24     Q.   Which person is he?       If you could circle him.       Your screen

25     has touchscreen capabilities.
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 1     A.   So this is Kelly.

 2     Q.   And you've circled the second person from the left.

 3             And do you see Defendant Kenneth Harrelson?

 4     A.   Yes.

 5     Q.   Can you please circle him.

 6     A.   Kind of down there.

 7     Q.   And you've indicated the person on the far right?

 8     A.   Yes.

 9     Q.   Did you later delete this photograph off of your phone?

10     A.   Yes.

11     Q.   And why?

12     A.   People started getting arrested, and I was trying to hide

13     the fact that I was in the Capitol.

14     Q.   Did you later delete anything else off of your phone?

15     A.   A couple other pictures or videos that were from inside.

16     Q.   What about that Signal app?

17     A.   Yes.   I -- I believe so, yes.

18     Q.   Why did you delete that?

19     A.   Trying to think.    But, yeah, I -- I actually factory reset

20     my phone.

21     Q.   Why did you factory reset your phone?

22     A.   I saw a lot of people shortly after that starting to get

23     arrested, and I kind of panicked and -- and -- I -- I didn't

24     realize at the time, kind of, the -- the ramifications of what

25     were about to happen.     So I -- I -- I deleted it.         I tried to
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 1     hide the fact that I was there in the Capitol.

 2     Q.     And what about Signal?     Did you try to hide the fact about

 3     your communications with other members of your group?

 4     A.     Some of them.   I don't know if I deleted -- if I deleted

 5     the -- I deleted the whole Signal app but not initially.                Part

 6     of one of the things that we did is -- Oath Keepers, is when we

 7     created a -- a chat line for a specific event.              For instance,

 8     when we went to Miami, after the event was over, we were told

 9     to delete the chat lines.       Basically I was told that by

10     deleting them, you keep a lot of extraneous or excess messages

11     from coming through.

12               So before any of this had happened, I deleted the Miami

13     chat line.    After the D.C. chat, I deleted the D.C. chat line.

14     That probably happened within a day or two of leaving D.C.

15     before all the arrests started, or maybe a couple days after

16     D.C.

17               The -- the deletion of those two lines wasn't

18     specifically to hide the fact that we were -- I was there.                  It

19     was deleting the photos and videos that I did later, after I

20     saw people starting to get arrested.

21     Q.     What about the general Oath Keepers chat, OK Florida?

22     A.     I had that for quite a bit longer.           I don't specifically

23     remember deleting it, but at some point I -- I may have.                I

24     think I did.

25     Q.     Would -- would factory resetting your phone have had that
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 1     effect?

 2     A.   Yeah.

 3     Q.   After you left the building, while you were still in the

 4     Capitol Grounds, where did you go?

 5     A.   After we -- after we left the Capitol Building, we moved

 6     out onto the -- I guess the main terrace.          We were up there for

 7     a few minutes.     Maybe five minutes, ten minutes.         I don't know

 8     the exact time.    And then we moved all the way down to the

 9     steps, kind of -- if you're looking out of the back of the

10     Capitol, down the steps off to the left side of the Capitol.

11     Q.   Who did you meet up with there when you went down the steps

12     on the left side of the Capitol?

13     A.   There were a whole bunch of Oath Keepers down there, a

14     whole group of them.

15     Q.   Did you see Defendant Kelly Meggs?

16     A.   Yes.

17     Q.   And Defendant Kenneth Harrelson?

18     A.   Yes.

19     Q.   While you were down there, did you see the leader of the

20     Oath Keepers?

21     A.   Yes.

22     Q.   And who was that?

23     A.   Stewart Rhodes.

24     Q.   Was that the first time you had seen him in person?

25     A.   Yes.
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 1     Q.   How did you feel seeing that he was personally there with

 2     you outside the Capitol?

 3     A.   I thought it was pretty -- pretty neat.          It was good to

 4     meet him.

 5     Q.   If you saw him again, would you recognize him?

 6     A.   Yes.

 7     Q.   Do you see him sitting here in the courtroom today?

 8     A.   Yes.

 9     Q.   Could you please tell us where he's seated and what he's

10     wearing?

11     A.   I can't tell what he's wearing.        Is that a gray jacket?

12     Q.   You can stand up.     It's okay.

13     A.   Gray jacket and black mask and eye patch.

14                 MR. NESTLER:    Let the record reflect an in-court

15     identification of Defendant Rhodes.

16                 THE COURT:    Any objection?

17                 MR. LINDER:    No objection.

18                 THE COURT:    The record will so reflect.

19     BY MR. NESTLER:

20     Q.   Now, while you were there outside of the Capitol Building,

21     have you seen any video of yourself out there?

22     A.   Yes.

23     Q.   I'm going to pull up on the screen just for Mr. Dolan

24     Exhibit 1081.1.    Is this -- if we can fast-forward it to 35

25     seconds.
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 1                 MR. NESTLER:   And if you play it just for a few

 2     seconds just for Mr. Dolan.

 3     BY MR. NESTLER:

 4     Q.   You can pause it there at 40 seconds.         Do you see yourself

 5     in the video, Mr. Dolan?

 6     A.   Yes, I do.

 7     Q.   Does this video fairly and accurately depict you outside of

 8     the Capitol Building?

 9     A.   Yes.

10                 MR. NESTLER:   Government moves to admit into

11     evidence.

12                 MS. HALLER:    No objection, Your Honor.

13                 THE COURT:    All right.    1081.1 will be admitted.

14                 (Government Exhibit 1081.1 admitted into evidence.)

15     BY MR. NESTLER:

16     Q.   If -- actually, we can play it here from 40 seconds.            Can

17     you circle yourself, Mr. Dolan.

18     A.   That appears to be me right there.

19     Q.   So you're circling the person on the left-hand side at

20     40 seconds.

21                 MR. NESTLER:   And if we can play it, please, Ms.

22     Rohde.

23                 (An audio-visual recording was played.)

24                 MR. NESTLER:   You can pause it there, please, at

25     1:09.
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 1     BY MR. NESTLER:

 2     Q.   Do you see the two individuals in the center of the frame?

 3     A.   Yes.

 4     Q.   Who are they?

 5     A.   You have Kenny right here, Kelly right there, and that

 6     looks like Terry right there.

 7     Q.   Okay.    So you indicated from left to right:         Terry,

 8     Defendant Kelly Meggs, and Defendant Kenneth Harrelson?

 9     A.   Yes.

10                  MR. NESTLER:   And if we can play it forward until

11     about 1:19.

12                  (An audio-visual recording was played.)

13                  MR. NESTLER:   Pause it there.

14     BY MR. NESTLER:

15     Q.   You see a person wearing a cowboy hat?

16     A.   Yes.

17     Q.   Do you know who that person is?

18     A.   It -- Stewart Rhodes was wearing a cowboy hat on that day.

19     From this angle, it looks like Stewart Rhodes.

20                  MR. NESTLER:   We can take that down, please.

21     BY MR. NESTLER:

22     Q.   Mr. Dolan, how did you feel about your actions in December

23     of 2020 into January of 2021?

24     A.   I'm sorry.    Could you say that again.

25     Q.   How do you feel now about your actions in December of 2020
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 1     into January of 2021?

 2     A.   Looking back on it, I think I was pretty naive, downright

 3     stupid with some of my decisions.        I'm thankful that -- that

 4     the -- President Trump at the time didn't do something like

 5     invoke the Insurrection Act because I think violence would

 6     have -- there would have been a lot of violence had he.

 7              Mostly I look at myself and -- and -- and I sit there

 8     and wonder how I got from -- from Point A to Point C, you know,

 9     trying to go back and think about the different thoughts that

10     were connected.    And even -- even now, like I'm not -- not

11     quite sure, you know, how the decisions I made even brought me

12     there.   I mean, I -- I -- it -- it just -- I felt pretty stupid

13     about the whole thing, I guess, all in all.           Let me just cut it

14     short.   I feel stupid.

15     Q.   Do you -- did you take any responsibility for your

16     decisions?

17     A.   I would like to think so.

18     Q.   How so?

19     A.   I pled guilty.

20     Q.   What did you plead guilty to?

21     A.   Obstruction of an official proceeding and conspiracy to

22     obstruct an official proceeding.

23                  MR. NESTLER:   If we can pull up on the screen,

24     please, Exhibit 5301.

25                  THE COURT:   Mr. Nestler, can I ask you to get on the
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 1     phone quick?

 2                 MR. NESTLER:        Yes.

 3                 (Bench conference held on the record.)

 4                 THE COURT:     How much longer do you think you have?

 5                 MR. NESTLER:        Probably five to ten minutes.             I'm

 6     wrapping up.       We're just going over the plea agreement.

 7                 (Proceedings held in open court.)

 8                 THE COURT:     Would everyone be able to go another five

 9     to ten minutes?      Is there anybody who is unable?

10             Okay.      All right.    Let's keep going.

11                 MR. NESTLER:        Thank you, Your Honor.

12             If you could put up on the screen, please, Exhibit 5301,

13     and just to highlight the top portion, Ms. Rohde.

14     BY MR. NESTLER:

15     Q.   Is this your plea agreement, Mr. Dolan?

16     A.   Yes.

17     Q.   And is Mike van der Veen your attorney?

18     A.   Yes.

19     Q.   Which judge did you plead guilty in front of?

20     A.   Pled guilty in front of Judge Mehta.

21     Q.   And when Judge Mehta accepted your guilty plea, did you

22     have to admit all of your conduct that formed the factual basis

23     for your plea?

24     A.   Yes.

25     Q.   What's your obligation under the plea agreement?
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 1     A.   To sit up here, testify, tell the truth.

 2     Q.   Every time we have met, what's the most important thing I

 3     tell you you have to do?

 4     A.   To tell the truth.

 5     Q.   Does the government have any obligations under the plea

 6     agreement?

 7     A.   No.

 8     Q.   Have you been sentenced yet?

 9     A.   No, I have not.

10     Q.   Under the sentencing guidelines, approximately how many

11     years in prison are you personally facing when it comes time

12     for sentencing?

13     A.   Don't know the exact months, but somewhere between five and

14     seven years.

15     Q.   What do you hope the government will do when it comes time

16     to make a recommendation to Judge Mehta at sentencing?

17     A.   Hopefully speak on my behalf and make a recommendation.

18     Q.   Does the government have to do that?

19     A.   No.

20     Q.   Has anyone made any promises to you that the government

21     will do that?

22     A.   No.

23     Q.   Who ultimately decides what your sentence is going to be?

24     A.   The judge.

25     Q.   Mr. Dolan, can you please explain to us why it is that you
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 1     pled guilty to conspiracy and obstruction of an official

 2     proceeding in your own words.

 3     A.   I helped coordinate.    I helped plan.        I helped set up.       I

 4     helped drive up to D.C.     I -- I talked about my desire and, I

 5     guess, wanting to stop what I saw as an illegitimate government

 6     or not duly elected government there in taking power.                So to --

 7     I guess in a way to further that end, I threw my rifle and

 8     pistol in the car.     I helped bring people up there and,

 9     ultimately, ended up on the steps of the Capitol, moving into

10     the Capitol Building to try and get Congress to stop the

11     certification of the election of President Biden.

12     Q.   Thank you, Mr. Dolan.

13                MR. NESTLER:     No further questions.

14                THE COURT:    All right.     Ladies and gentlemen of the

15     jury, we have come to the end of our day.          It is now a little

16     bit after 5 o'clock.     We look forward to seeing you-all

17     tomorrow morning at 9:30; we'll get started.           Just a friendly

18     reminder not to look at any media, no discussions about the

19     case, and no research.

20             Have a very good evening.       Mr. Douyon will have some

21     additional instructions for you before you depart.

22                (Proceedings held outside the presence of the jury.)

23                THE COURT:    Okay.    Mr. Dolan, you may step down.

24     We'll start tomorrow morning at 9:30.         I'll just ask you to be

25     back in the courthouse by 9:20 and instruct you not to discuss
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 1     your testimony with anyone overnight.

 2                  THE WITNESS:    Yes, sir.

 3                  THE COURT:    Thank you, sir.       Have a seat, everyone.

 4             All right.    Is there anything we need to take up before

 5     we adjourn for the evening?

 6                  MR. NESTLER:    Not from the government, Your Honor.

 7                  MR. LINDER:    Did you offer -- sorry.          I may have

 8     missed it.    Did you offer the plea agreement into evidence?

 9                  MR. NESTLER:    I believe I did.

10                  THE COURT:    Okay.   I'm not sure we did.         What was it

11     marked as?

12                  MR. NESTLER:    5301.

13                  THE COURT:    All right.      So 5301 will be admitted into

14     evidence.

15                  (Government Exhibit 5301 admitted into evidence.)

16                  MR. LINDER:    Thank you, sir.

17                  MR. WOODWARD:    There's the issue of the defendants'

18     use of laptops while here in the courtroom.

19                  THE COURT:    I -- that's something I need to talk to

20     the marshals about.       It is not an easy question --

21                  MR. WOODWARD:    Understood.

22                  THE COURT:    -- because it involves -- I don't know

23     who's supplying.     I don't know who will be monitoring.               I don't

24     know whether these will be clean laptops, et cetera, et cetera.

25     And just because they're not connected to the internet doesn't
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 1     make it okay.

 2                  MR. WOODWARD:   I completely understand, Your Honor.

 3     We told the marshals when we started this that we would do

 4     whatever they wanted or needed.

 5             I will only observe that Mr. Meggs has become pretty

 6     much a perfect paralegal in this case.              He knows the evidence

 7     as well as anyone.     So it's been extremely useful to have him

 8     reviewing the government's discovery which, as you know, is

 9     voluminous.

10                  THE COURT:   Are you talking about laptops in the

11     courtroom?

12                  MR. WOODWARD:   Yes, sir.

13                  THE COURT:   Maybe I'm -- I mean, I understood him to

14     only be doing nothing more than taking notes with a laptop.

15                  MR. WOODWARD:   No.   He has access to the government's

16     discovery in this case.

17                  THE COURT:   How -- how would he not then have access

18     to the internet?

19                  MR. WOODWARD:   Because I have it on a hard drive.

20                  THE COURT:   All right.     I've got to have

21     conversations with the marshals.

22                  MR. WOODWARD:   Understood.      Thank you, sir.

23                  THE COURT:   All right.     Anything else, Counsel?

24                  MS. RAKOCZY:    Not from the government.

25                  THE COURT:   We'll see everybody tomorrow morning.
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 1     Thank you.

 2             And if there's anything to raise, please let JC know so

 3     we can get here on the earlier side.         Thanks, everybody.

 4                  (Proceedings were concluded at 5:08 p.m.)

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 1          CERTIFICATE OF STENOGRAPHIC OFFICIAL COURT REPORTER

 2

 3               I, Nancy J. Meyer, Registered Diplomate Reporter,

 4     Certified Realtime Reporter, do hereby certify that the above

 5     and foregoing constitutes a true and accurate transcript of my

 6     stenograph notes and is a full, true, and complete transcript

 7     of the proceedings to the best of my ability.

 8

 9                           Dated this 19th day of October, 2022.

10

11                           /s/ Nancy J. Meyer
                             Nancy J. Meyer
12                           Official Court Reporter
                             Registered Diplomate Reporter
13                           Certified Realtime Reporter
                             333 Constitution Avenue Northwest
14                           Washington, D.C. 20001

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